The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the
time and date indicated, which may be materially different from its entry on the record.




      Dated: 12:43 PM January 18, 2022




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                                                                                       Execution Copy



         SECOND AMENDED AND RESTATED ASSET PURCHASE AGREEMENT

         THIS SECOND AMENDED AND RESTATED ASSET PURCHASE AGREEMENT (this
 Agreement) is entered into as of January 10, 2022 (the Effective Date) by and among
 INSTANTIATION LLC (the Purchaser), SQUIRRELS RESEARCH LABS LLC (SQRL), and
 THE MIDWEST DATA COMPANY LLC (MWDC and, together with SQRL, each a Seller and
 collectively, the Sellers). The Purchaser and the Sellers are referred to herein individually as a
 Party and, collectively, as the Parties.

                                               RECITALS

        WHEREAS, the Sellers commenced a voluntary petition for relief (the Bankruptcy
 Case) under subchapter V (§§ 1181-1195) of chapter 11 of the United States Bankruptcy Code,
 11 U.S.C. §§ 101, et seq. (the Bankruptcy Code), in the United States Bankruptcy Court for
 the Northern District of Ohio, Eastern Division at Canton (the Bankruptcy Court);

         WHEREAS, the Purchaser desires to purchase the Acquired Assets and assume the
 Assumed Liabilities from the Sellers, and the Sellers desire to sell, convey, assign, and transfer
 to the Purchaser the Acquired Assets together with the Assumed Liabilities, in a sale authorized
 by the Bankruptcy Court pursuant to, inter alia, sections 105, 363 and 365 of the Bankruptcy
 Code, in accordance with the other applicable provisions of the Bankruptcy Code and the Federal
 Rules of Bankruptcy Procedure and the local rules for the Bankruptcy Court (collectively, the
 Bankruptcy Rules), all on the terms and subject to the conditions set forth in this Agreement
 and subject to entry of the Sale Order;

        WHEREAS, on November 22, 2021, the Parties entered into an Asset Purchase
 Agreement and on December 1, 2021, the Parties entered into an Amended & Restated Asset
 Purchase Agreement (the First A&R APA); and

         WHEREAS, the Parties desire to amend and restate the First A&R APA, pursuant to
 Section 9.6 of the First A&R APA, in its entirety on the terms and subject to the conditions set
 forth herein

        NOW, THEREFORE, for and in consideration of the foregoing and their mutual
 covenants and agreements set forth below, and other good and valuable consideration, the receipt
 and sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound,
 hereby agree as follows:

                              ARTICLE 1
    PURCHASE AND SALE OF ASSETS; ASSUMPTION OF ASSUMED LIABILITIES

         1.1      Purchase and Sale of Acquired Assets. Pursuant to sections 105, 363 and 365
 of the Bankruptcy Code, on the terms and subject to the conditions set forth herein and in the
 Sale Order, at the Closing, the Sellers shall sell, transfer, assign, convey, and deliver to the
 Purchaser, and the Purchaser shall purchase, acquire, and accept from the Sellers, all of the
 Sellers right, title and interest in and to the following assets, properties and rights of the Sellers,
 free and clear of all Encumbrances other than Permitted Encumbrances (the Acquired Assets)
 but excluding in all cases the Excluded Assets:

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                (a)    all manufacturing Equipment, components, racks, computers, and other
 related equipment owned by the Sellers and located at the Leased Real Property, including
 without limitation the assets identified on Schedule 1.1(a), and excluding, for the avoidance of
 doubt, the Excluded Equipment (collectively, the Acquired Equipment);

                   (b)   the Contracts identified on Schedule 1.1(b) (the Assigned Contracts);

                (c)    all general intangible assets used or useful in connection with the use and
 operation of the Acquired Equipment;

               (d)    all Business Intellectual Property, including all rights to collect royalties
 and proceeds in connection therewith;

                (e)      copies of all Document directly related to the Acquired Assets described
 in Section 1.1(a), (b), (c), and (d); provided that the Sellers may retain copies of any Documents
 transferred pursuant to this Section 1.1(d); and

                   (f)   all of Sellers financial accounting Documents.

         1.2     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in
 no event shall the Sellers be deemed to sell, transfer, assign, or convey, and the Sellers shall
 retain all right, title and interest to, in and under the following assets, properties, interests and
 rights of such Seller (collectively, the Excluded Assets):

               (a)     all Protected Information that such Seller is prohibited by or would
 otherwise contravene applicable Law from transferring to the Purchaser;

              (b)     any records, documents or other information relating to employees and
 former employees of the Sellers;

                   (c)   all Contracts other than the Assigned Contracts (the Excluded
 Contracts);

                (d)     all Documents that are minute books, organizational documents, stock
 registers and such other books and records of any Seller as pertaining to ownership, organization
 or existence of such Seller, Tax Returns (and any related work papers) and any other Tax
 information or records of such Seller, corporate seal, checkbooks, and canceled checks;

                 (e)     such Sellers claims or other rights under this Agreement, including the
 Purchase Price hereunder, or any agreement, certificate, instrument, or other document executed
 and delivered between such Seller and the Purchaser in connection with the transactions
 contemplated hereby, or any other agreement between such Seller and the Purchaser entered into
 on or after the date hereof;

                   (f)   all Tax attributes that are not transferred by the operation of applicable
 Tax Law;

                   (g)   the causes of Action described on Schedule 1.2(g) attached hereto;

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              (h)     the insurance claims described on Schedule 1.2(h) attached hereto (the
 Insurance Claims);

                (i)    the registered Intellectual Property described on Schedule 1.2(i) attached
 hereto (the Registered IP);

               (j)   office furniture, office supplies, and similar non-production equipment
 (the Excluded Equipment); and

                   (k)   all other assets of the Sellers that do not constitute Acquired Assets.

         1.3     Assumption of Certain Liabilities. On the terms and subject to the conditions
 set forth herein and in the Sale Order, effective as of the Closing, the Purchaser shall irrevocably
 assume from the Sellers (and from and after the Closing pay, perform, discharge, or otherwise
 satisfy in accordance with their respective terms), and the Sellers shall irrevocably convey,
 transfer, and assign to the Purchaser, only the following Liabilities, without duplication and only
 to the extent not paid prior to the Closing (collectively, the Assumed Liabilities):

               (a)     all Liabilities of the Sellers under the Assigned Contracts that becomes
 due from and after the Closing but excluding Liabilities arising out of the Sellers performance
 of the Assigned Contracts prior to Closing;

               (b)     all cure costs required to be paid pursuant to section 365 of the
 Bankruptcy Code in connection with the assumption and assignment of the Assigned Contracts
 (the Cure Costs); and

                (c)    all Liabilities arising out of the use or operation of the Acquired Assets
 from and after the Closing.

 Notwithstanding anything to the contrary contained herein, Assumed Liabilities shall not
 include any Liabilities in respect of any Action or other contested claims against the Sellers,
 other contingent Liabilities, fees of the Sellers professional advisors, management incentive
 plans or other Liability not incurred in the Ordinary Course, or any indebtedness, obligation or
 other claim (as defined in the Bankruptcy Code) of any kind arising from any financing
 including any Liability under the DIP Loan Agreement, any other DIP financing, credit facility,
 revolver, borrowing, debt or securities of any kind.        All such Liabilities shall constitute
 Excluded Liabilities.

         1.4     Excluded Liabilities. The Purchaser shall not assume, be obligated to pay,
 perform or otherwise discharge or in any other manner be liable or responsible for any Liabilities
 of, or Action against, the Sellers or relating to the Acquired Assets, of any kind or nature
 whatsoever, whether absolute, accrued, contingent or otherwise, liquidated or unliquidated, due
 or to become due, known or unknown, currently existing or hereafter arising, matured or
 unmatured, direct or indirect, and however arising, whether existing on the Closing Date or
 arising thereafter as a result of any act, omission, or circumstances taking place on or prior to the
 Closing, other than the Assumed Liabilities (all such Liabilities that are not Assumed Liabilities
 being referred to collectively herein as the Excluded Liabilities).


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          1.5      Assumption/Rejection of Certain Contracts.

                 (a)     Assumption and Assignment of Executory Contracts. The Sellers shall
 provide reasonably timely written notice of the motion seeking entry of the Sale Order to all
 parties to any executory Contracts or unexpired leases to which a Seller is a party that are
 Assigned Contracts as of the Closing and take all other actions reasonably necessary to cause
 such Assigned Contracts to be assumed by a Seller and assigned to the Purchaser pursuant to
 section 365 of the Bankruptcy Code. The Sale Order shall provide that as of and conditioned on
 the occurrence of the Closing, the Sellers shall assign or cause to be assigned to the Purchaser, as
 applicable, the Assigned Contracts, each of which shall be identified by the name or appropriate
 description and date of the Assigned Contract (if available), the other party to the Assigned
 Contract and the address of such party for notice purposes (if available), all included on an
 exhibit attached to either a notice filed in connection with the motion for approval of the Sale
 Order or a separate motion for authority to assume and assign such Assigned Contracts. Such
 exhibit shall also set forth the applicable Sellers good faith estimate of the amounts necessary to
 cure any defaults under each of the Assigned Contracts as determined by such Seller based on
 such Sellers books and records or as otherwise determined by the Bankruptcy Court. At the
 Closing, such Seller shall, pursuant to the Sale Order, assume and assign to the Purchaser (the
 consideration for which is included in the Purchase Price), all Assigned Contracts that may be
 assigned by any such Seller to the Purchaser pursuant to sections 363 and 365 of the Bankruptcy
 Code. At the Closing, the Purchaser shall assume, and thereafter in due course and in
 accordance with its respective terms pay, fully satisfy, discharge and perform all of the
 obligations under each Assigned Contract constituting Assumed Liabilities pursuant to section
 365 of the Bankruptcy Code.

                (b)     Non-Assignment. Notwithstanding the foregoing, a Contract shall not be
 an Assigned Contract hereunder and shall not be assigned to, or assumed by, the Purchaser to the
 extent that such Contract (i) is rejected or terminated by a Seller in accordance with the terms of
 this Agreement or is terminated by any other party thereto, or terminates or expires by its terms,
 on or prior to such time as it is to be assumed by the Purchaser as an Assigned Contract
 hereunder and is not continued or otherwise extended upon assumption or (ii) requires a Consent
 or Governmental Authorization (other than, and in addition to, that of the Bankruptcy Court) in
 order to permit the sale or transfer to the Purchaser of a Sellers rights under such Contract, and
 such Consent or Governmental Authorization has not been obtained prior to such time as it is to
 be assumed by the Purchaser as an Assigned Contract hereunder. In the event that any Assigned
 Contract is deemed not to be assigned pursuant to clause (ii) of the first sentence of this Section
 1.5(b), the Closing shall nonetheless take place subject to the terms and conditions set forth
 herein and, thereafter, through the earlier of such time as such Consent or Governmental
 Authorization is obtained and six (6) months following the Closing (or the remaining term of
 such Contract or the closing of the Bankruptcy Case, if shorter), the Sellers and the Purchaser
 shall (A) use reasonable best efforts to secure such Consent or Governmental Authorization as
 promptly as practicable after the Closing and (B) cooperate in good faith in any lawful and
 commercially reasonable arrangement reasonably proposed by the Purchaser, including
 subcontracting, licensing, or sublicensing to the Purchaser any or all of the Sellers rights and
 obligations with respect to any such Assigned Contract, under which (1) the Purchaser shall
 obtain (without infringing upon the legal rights of such third party or violating any Law) the
 economic rights and benefits (net of the amount of any related Tax costs imposed on the Sellers

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 or its Affiliates) under such Assigned Contract with respect to which the Consent and/or
 Governmental Authorization has not been obtained and (2) the Purchaser shall assume any
 related burden and obligation (including performance) with respect to such Assigned Contract
 constituting Assumed Liabilities. Upon satisfying any requisite Consent or Governmental
 Authorization requirement applicable to such Assigned Contract after the Closing, such Assigned
 Contract shall promptly be transferred and assigned to the Purchaser in accordance with the
 terms of this Agreement, the Sale Order and the Bankruptcy Code.

         1.6    Purchase Price. The consideration payable by the Purchaser to the Sellers for the
 Acquired Assets shall be equal to $3,010,000 in cash (the Purchase Price) plus assumption of
 the Assumed Liabilities; provided, that of the Purchase Price, $10,000 is allocated to and shall be
 paid to MWDC in respect of the Acquired Assets to be sold by MWDC to the Purchaser pursuant
 to this Agreement. Within five (5) Business Days of the execution of this Agreement, the
 Purchaser shall deliver to the Sellers $50,000 (the Deposit), which amount shall be applied to
 the Purchase Price at the Closing.

         1.7     Closing. The closing of the purchase and sale of the Acquired Assets, the
 delivery of the Purchase Price, the assumption of the Assumed Liabilities and the consummation
 of the other transactions contemplated by this Agreement (the Closing) will take place by
 telephone conference and electronic exchange of documents at 10:00 a.m. Canton, Ohio time on
 the second (2nd) Business Day following full satisfaction or due waiver (by the Party entitled to
 the benefit of such condition) of the closing conditions set forth in Article 6 (other than
 conditions that by their terms or nature are to be satisfied at the Closing, but subject to the
 satisfaction or waiver of those conditions), or at such other place and time as the Parties may
 agree. The date on which the Closing actually occurs is referred to herein as the Closing Date.

         1.8     Closing Deliveries by the Sellers. At or prior to the Closing, the Sellers shall
 deliver to the Purchaser:

                   (a)   all required documentation for Transfer Taxes, duly executed by the
 Sellers;

               (b)    an instrument of assignment and assumption of the real property lease set
 forth on Schedule 1.1(b), in form and substance approved by the Purchaser (the Assignment
 and Assumption of Lease), duly executed (and acknowledged as applicable) by the Sellers;

               (c)     copies of all reasonable and customary instruments, certificates,
 documents and other filings (if applicable) necessary to release the Acquired Assets from
 Encumbrances, including any applicable UCC termination statements and releases of mortgages,
 in form and substance appropriate for recording;

                   (d)   a copy of the Sale Order, as entered by the Bankruptcy Court;

              (e)     a duly executed certificate from each Seller, satisfying the requirements of
 Treasury Regulation 1.1445-2(b)(2);

                   (f)   a duly executed IRS Form W-9 with respect to each Seller;


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                (g)      a copy of the resolutions adopted by the board of directors (or similar
 governing body) of the Sellers evidencing the authorization of the execution of this Agreement
 and the consummation of the transactions contemplated by this Agreement, certified by an
 authorized officer of the Sellers;

                (h)     an officers certificate, dated as of the Closing Date, executed by a duly
 authorized officer of the Sellers certifying that the conditions set forth in Sections 6.2(b) and
 6.2(c) have been satisfied; and

                (i)    such other documents as the Purchaser may reasonably request that are
 customary for a transaction of this nature and necessary to evidence or consummate the
 transactions contemplated by this Agreement.

         1.9     Closing Deliveries by the Purchaser. At the Closing, the Purchaser shall deliver
 to the Sellers:

                   (a)   The Purchase Price;

              (b)     the Assignment and Assumption of Lease, duly executed (and
 acknowledged, as applicable) by the Purchaser;

                (c)    a copy of the resolutions adopted by the board of directors (or similar
 governing body) of the Purchaser evidencing the authorization of the execution of this
 Agreement and the consummation of the transactions contemplated by this Agreement, certified
 by an authorized officer of the Purchaser;

                (d)     an officers certificate, dated as of the Closing Date, executed by a duly
 authorized officer of the Purchaser certifying that the conditions set forth in Sections 6.3(a) and
 6.3(b) have been satisfied; and

                (e)    such other documents as the Sellers may reasonably request that are
 customary for a transaction of this nature and necessary to evidence or consummate the
 transactions contemplated by this Agreement.

         1.10 Withholding. The Purchaser shall be entitled to deduct and withhold from any
 amounts otherwise payable pursuant to this Agreement to the extent required by applicable Law.
 Prior to making any withholding, the Purchaser must notify the Sellers at least five (5) Business
 Days prior to the effective date of any potentially applicable withholding requirement that the
 Purchaser believes applies, and each of the Parties agrees to take commercially reasonable efforts
 to cooperate to eliminate or reduce any such deduction or withholding. To the extent that
 amounts are withheld and paid to the applicable Governmental Body, such withheld amounts
 shall be treated for all purposes of this Agreement as having been paid to the Person in respect of
 whom such deduction and withholding was made.

                                   ARTICLE 2
                 REPRESENTATIONS AND WARRANTIES OF THE SELLERS



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                Except as set forth in the Schedules delivered by the Sellers to the Purchaser
 concurrently herewith, the Sellers, jointly and severally, represent and warrant to the Purchaser
 as follows as of the date hereof and as of the Closing Date (except where a representation or
 warranty is limited to a specific date, in which case such representation and warranty is given
 only as of such specific date):

        2.1     Organization and Qualification. Such Seller (a) is an entity duly incorporated or
 organized, validly existing and in good standing under the Laws of the jurisdiction of its
 incorporation or organization, as applicable, (b) has all requisite power and authority to own and
 operate its properties and to carry on its businesses as now conducted, subject to the provisions
 of the Bankruptcy Code, and (c) is qualified to do business and is in good standing (or its
 equivalent) in every jurisdiction in which its ownership of property or the conduct of its business
 as now conducted requires it to qualify, in the case of (b) and (c), except as could not,
 individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

         2.2     Authorization of Agreement. The execution, delivery, and performance of this
 Agreement and each of the documents and agreements contemplated hereby to which such Seller
 is a party, and the consummation by such Seller of the transactions contemplated hereby and
 thereby, subject to requisite Bankruptcy Court approvals, have been duly and validly authorized
 by all requisite corporate or similar organizational action, and no other corporate or similar
 organizational proceedings on its part are necessary to authorize the execution, delivery or
 performance of this Agreement and each of the documents and agreements contemplated hereby
 to which such Seller is a party by such Seller. Subject to requisite Bankruptcy Court approvals,
 this Agreement and each of the documents and agreements contemplated hereby to which such
 Seller is a party has been duly and validly executed and delivered by such Seller, and, assuming
 this Agreement is a valid and binding obligation of the Purchaser, this Agreement and each of
 the documents and agreements contemplated hereby to which such Seller is a party constitutes a
 valid and binding obligation of such Seller, enforceable against such Seller in accordance with its
 terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium and similar
 applicable Laws affecting creditors rights and remedies generally, and subject, as to
 enforceability, to general principles of equity, including principles of commercial
 reasonableness, good faith and fair dealing (regardless of whether enforcement is sought in a
 proceeding at law or in equity) (the Enforceability Exceptions).

          2.3      Conflicts; Consents.

                  (a)     Assuming that requisite Bankruptcy Court approvals are obtained, the
 execution, delivery and performance by the Sellers of this Agreement and each of the documents
 and agreements contemplated hereby to which the Sellers is a party and the consummation by the
 Sellers of the transactions contemplated hereby and thereby, do not: (i) violate the certificate of
 formation, limited liability company agreement or equivalent organizational documents of the
 Sellers; (ii) violate any Law applicable to the Sellers; or (iii) result in any breach of, constitute a
 default (or an event that, with notice or lapse of time or both, would become a default) under,
 create in any party thereto the right to terminate or cancel, or require any consent under, or result
 in the creation or imposition of any Encumbrance (other than a Permitted Encumbrance) on any
 property or asset of the Sellers under, any Assigned Contracts; except, in the case of clauses (ii)


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 and (iii), for any such violations, breaches, defaults or other occurrences as could not,
 individually or in the aggregate, reasonably be expected to be material to the Acquired Assets.

                (b)     The Sellers are not required to file, seek or obtain any notice,
 authorization, approval, Order, permit, or consent of or with any Governmental Body in
 connection with the execution, delivery and performance by the Sellers of this Agreement and
 each of the documents and agreements contemplated hereby to which each Seller is a party or the
 consummation by such Seller of the transactions contemplated hereby and thereby, except (i)
 requisite Bankruptcy Court approvals, (ii) where failure to obtain such consent, approval,
 authorization or action, or to make such filing or notification, is not and could not, individually
 or in the aggregate, reasonably be expected to be material to the Acquired Assets, or (iii) as may
 be necessary as a result of any facts or circumstances relating to Purchaser or any of its
 Affiliates.

          2.4      Title to Properties.

                (a)     Schedule 2.4(a) contains a correct and complete list of all real property
 leased by the Sellers as of the date hereof (the Leased Real Property). Subject to requisite
 Bankruptcy Court approvals, and assumption by the Sellers of the applicable lease in accordance
 with applicable Law (including satisfaction of any applicable Cure Costs) and except as a result
 of the commencement of the Bankruptcy Case, the Sellers have a valid leasehold estate in the
 real property lease set forth on Schedule 1.1(b), free and clear of all Encumbrances, other than
 Permitted Encumbrances.

                (b)    Subject to requisite Bankruptcy Court approvals and assumption by such
 Seller of the applicable Contract in accordance with applicable Law (including satisfaction of
 any applicable Cure Costs) and except as a result of the commencement of the Bankruptcy Case,
 such Seller owns good title to, or holds a valid leasehold interest in, all of the material tangible
 property (including the Equipment) used or held for use in the conduct of the Acquired Assets as
 now conducted, free and clear of all Encumbrances, except for Permitted Encumbrances, other
 than any failure to own or hold such tangible property as could not, individually or in the
 aggregate, reasonably be expected to be material to the operation of the Acquired Assets.

                (c)     After giving effect to the Closing, the Purchaser will hold good title to, or
 will hold a valid leasehold interest in, the Acquired Assets free and clear of all Encumbrances
 (other than Permitted Encumbrances) pursuant to the Sale Order.

          2.5      Contracts.

              (a)      Except for Contracts entered into by the Sellers after the date hereof in
 compliance with the terms of this Agreement, and Contracts that are not primarily related to the
 Acquired Assets, such Seller is not a party to any:

                          (i)     collective bargaining agreement with any labor union;

                       (ii) Contract under which such Seller has borrowed any money or
 issued any note, indenture or other evidence of similar indebtedness or guaranteed such
 indebtedness of others;

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                     (iii)   license of any Intellectual Property (other than licenses of
 commercially available, off-the-shelf software and other than licenses entered into in the
 Ordinary Course);

                       (iv)   lease or other Contract under which such Seller is lessee of, or
 holds or operates any personal property owned by any third party;

                     (v)    Contract or group of related Contracts with the same party for the
 purchase of products or services (other than purchase orders entered into in the Ordinary
 Course);

                       (vi)    Contract relating to any acquisition or disposition by such Seller of
 any business (whether by asset or stock purchase or otherwise) or any merger, consolidation or
 similar business combination transaction, in each case, pursuant to which such Seller has any
 outstanding obligation to pay any purchase price thereunder;

                         (vii)    Contract relating to any joint venture or partnership; or

                         (viii)   agreement in writing to enter into any of the foregoing.

                 (b)    Subject to requisite Bankruptcy Court approvals and assumption by such
 Seller of the applicable Contract in accordance with applicable Law and except as a result of the
 commencement of the Bankruptcy Case or as would not, individually or in the aggregate,
 reasonably be expected to be material to the Acquired Assets, as of the date hereof, each of the
 Assigned Contracts is in full force and effect and is a valid, binding and enforceable obligation
 of such Seller and, to the Knowledge of such Seller, each of the other parties thereto, except as
 may be limited by the Enforceability Exceptions. Except, as a result of the commencement of
 the Bankruptcy Case, or as could not, individually or in the aggregate, reasonably be expected to
 be material to the Acquired Assets, such Seller is not in material default, or is alleged in writing
 by the counterparty thereto to have materially breached or to be in material default, under any
 Assigned Contract, and, to the Knowledge of such Seller, the other party to each Assigned
 Contract is not in material default thereunder. As of the date hereof, none of the Assigned
 Contracts has been canceled or otherwise terminated, and such Seller has not received any
 written notice from any Person regarding any such cancellation or termination except as could
 not, individually or in the aggregate, reasonably be expected to be material to the Acquired
 Assets.

         2.6     Litigation. Other than the Bankruptcy Case and the Actions set forth on Schedule
 2.6, there are no Actions pending or, to the Sellers Knowledge, threatened against or by the
 Sellers or any of its Affiliates with respect to the Acquired Assets, at law or in equity, or before
 or by any Governmental Body. Other than in connection with the Bankruptcy Case, the Sellers
 are not subject to any outstanding Order.

          2.7      Permits; Compliance with Laws.

                 (a)      Except as would not, individually or in the aggregate, reasonably be
 expected to be material to the Acquired Assets, the Sellers hold and is in compliance with all
 permits, certificates, licenses, approvals, registrations and authorizations that are material to the

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 Acquired Assets and required in connection with the conduct of its business as operated by the
 Sellers under applicable Laws (the Permits). Except as would not, individually or in the
 aggregate, reasonably be expected to be material to the Acquired Assets, all of the Permits are
 valid and in full force and effect and no Action is pending, or, to the Sellers Knowledge,
 threatened, which seeks to revoke, limit or otherwise affect any such Permit.

                 (b)    During the prior five (5) years the Sellers have not received any written
 notice of any Action against it alleging any failure to comply in any material respect with any
 Laws, except in each case as could not, individually or in the aggregate, reasonably be expected
 to be material to the Acquired Assets. No investigation by any Governmental Body with respect
 to each Seller or any of its Affiliates is pending or, to the Sellers Knowledge, threatened, and
 during the prior five (5) years the Sellers have not received any written notice of any such
 investigation, except, in each case, for any such investigation that could not, individually or in
 the aggregate, reasonably be expected to be material to the Acquired Assets.

          2.8      Environmental Matters.

                (a)    The Sellers are in compliance in all material respects with all applicable
 Environmental Laws, which compliance has included obtaining all material permits, licenses and
 authorizations required under applicable Environmental Laws, except in each case for any
 noncompliance that could not, individually or in the aggregate, reasonably be expected to have a
 Material Adverse Effect;

                 (b)   The Sellers have not during the prior five (5) years received written notice
 from any Governmental Body regarding any actual or alleged violation of or liability under
 Environmental Laws that could, individually or in the aggregate, reasonably be expected to be
 material to the Acquired Assets; and

                (c)    To the Knowledge of the Sellers, no Hazardous Substance has been
 released by the Sellers in violation of, and in a manner that would result in liability for the
 Sellers under, any Environmental Law, except as would not, individually or in the aggregate,
 reasonably be expected to be material to the Acquired Assets.

          2.9      Intellectual Property.

                (a)     The Business Intellectual Property is owned by the Sellers free and clear
 of all Encumbrances, other than Permitted Encumbrances. The Business Intellectual Property is
 subsisting and, to the Knowledge of the Seller, enforceable.

                (b)    To the Knowledge of the Sellers, the Acquired Assets do not infringe,
 misappropriate or otherwise violate any Intellectual Property of any other Person, except where
 such infringement, misappropriation or violation could not, individually or in the aggregate,
 reasonably be expected to be material to the Acquired Assets.

                 (c)    To the Knowledge of the Sellers, no third party infringes, misappropriates
 or otherwise violates any Business Intellectual Property, except where such infringement,
 misappropriation or violation could not, individually or in the aggregate, reasonably be expected
 to be material to the Acquired Assets.

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                (d)    The Sellers have used efforts that are reasonable under the circumstances
 to maintain the secrecy of the material Trade Secrets included in the Business Intellectual
 Property, except where such failure could not, individually or in the aggregate, reasonably be
 expected to be material to the Acquired Assets.

         2.10 Data Security. Except as could not, individually or in the aggregate, reasonably
 be expected to be material to the Acquired Assets, the Sellers maintain commercially reasonable
 policies and procedures regarding data privacy, protection and security designed to protect any
 personally identifiable information of any individuals, including any customers, prospective
 customers, employees and/or other third parties directly related to the Acquired Assets collected
 by the Sellers. Except as could not, individually or in the aggregate, reasonably be expected to be
 material to the Acquired Assets, to the Knowledge of the Sellers, the transactions contemplated
 by this Agreement will not result in a breach of such Sellers published privacy policies in effect
 as of the date hereof. The Sellers and their respective Affiliates are in compliance in all material
 respects with all Laws relating to data loss, theft and breach of security notification obligations.

          2.11     Seller Plans. Sellers have no Liabilities under any Seller Plans.

        2.12 Employees. The Sellers have no Liabilities with respect to any employees or
 former employees.

          2.13     Tax Matters.

                (a)     All Tax Returns required to be filed under applicable Law by the Sellers
 with respect to the Acquired Assets have been filed and such Tax Returns are correct and
 complete in all material respects.

               (b)    All Taxes shown as due from the Sellers with respect to the Acquired
 Assets have been paid, except (i) to the extent nonpayment of which is permitted or required by
 the Bankruptcy Code and (ii) for Taxes that are being disputed by the Sellers in good faith.

                (c)   No written notice from any Governmental Body of proposed adjustment,
 deficiency or underpayment of material Taxes with respect to the Sellers, the Acquired Assets
 have been received by any Seller that has not since been satisfied by payment or been
 withdrawn. No Seller has waived any statute of limitations or agreed to any extension of time
 during which a material Tax or deficiency assessment may be made with respect to the Acquired
 Assets.

              (d)      To the Sellers Knowledge, there are no Encumbrances for Taxes on the
 Acquired Assets, other than Permitted Encumbrances.

                (e)    The Sellers have collected or withheld all amounts required to be collected
 or withheld by the Sellers for all Taxes in compliance with applicable Law, and all such amounts
 have been paid to the appropriate Governmental Body or set aside in appropriate accounts for
 future payment when due, in each case, in accordance with applicable Law.

               (f)    To the Sellers Knowledge, no Governmental Body has in the last five (5)
 years made a claim that the Sellers, the Acquired Assets are or may be subject to taxation by a

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 jurisdiction in which Tax Returns are not filed by, or with respect to, the Sellers or the Acquired
 Assets, as applicable.

         2.14 Brokers. There are no claims for brokerage commissions, finders fees or similar
 compensation in connection with the transactions contemplated by this Agreement based on any
 arrangement or agreement made by or on behalf of the Sellers that would become the obligation
 of the Purchaser or its Affiliates after the Closing.

          2.15     Compliance with Applicable Sanctions and Embargo Laws.

                 (a)    Neither the Sellers nor any of their respective Affiliates is (i) a person or
 entity named on the List of Specially Designated Nationals and Blocked Persons administered by
 the U.S. Treasury Departments Office of Foreign Assets Control (OFAC), the OFAC
 Consolidated Sanctions List or in any Executive Order issued by the President of the United
 States and administered by OFAC, or a person or entity prohibited by any OFAC sanctions
 program or a person or entity whose property and interests in property subject to U.S.
 jurisdiction are otherwise blocked under any U.S. laws, Executive Orders or regulations; (ii) an
 entity owned, directly or indirectly, individually or in the aggregate, fifty percent or more by one
 or more persons described in subsection (i); (iii) a person or entity listed on the Sectoral
 Sanctions Identifications (SSI) List maintained by OFAC or otherwise determined by OFAC
 to be subject to one or more of the Directives issued under Executive Order 13662 of March 20,
 2014, or an entity owned, directly or indirectly, individually or in the aggregate, fifty percent or
 more by one or more persons or entities that are subject to the SSI List restrictions; or (iv) a
 person or entity named on the U.S. Department of Commerce, Bureau of Industry and Security
 Denied Persons List, Entity List, or Unverified List.

                (b)      Neither the Sellers nor any of its respective Affiliates has violated any
 applicable sanctions, embargo, or export control laws or regulations, except as could not,
 individually or in the aggregate, reasonably be expected to be material to the Acquired Assets.

         2.16 Compliance with Applicable Anti-Bribery and Anti-Corruption Law.
 Neither the Sellers nor any of its respective Affiliates has, directly or indirectly: (a) made,
 offered, or paid any illegal contributions, payments, bribes, kickbacks, expenditures, gifts or
 similar payments or provided any unlawful compensation or gifts or payments to any officer,
 employee, or representative of any Governmental Body, or any employee, customer or supplier
 of the Sellers or any other Person, in each case, in violation of applicable Law; (b) made or
 offered to make any improper payment to any foreign official (as defined in the FCPA); or (c)
 taken any other action that would cause the Sellers to be in violation of any Anti-Bribery and
 Anti-Corruption Law.

        2.17 Financial Statements. The Sellers have delivered to the Purchaser correct and
 complete copies of (i) the unaudited balance sheet of the Sellers as of, and the consolidated
 statements of operations, changes in members equity and cash flows for, the fiscal year ended
 on December 31, 2020 and (ii) the unaudited balance sheet of the Sellers as of, and the
 consolidated statements of operations and cash flow for, the nine month period ended on
 November 30, 2021 (collectively, the Financial Statements). The Financial Statements have
 not been prepared in accordance with GAAP but presently fairly, in all material respects, the

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 financial position of the Sellers as of the respective dates thereof and for the periods indicated
 therein (subject to normal and recurring year-end adjustments and the absence of footnotes).

         2.18 Absence of Changes. Except as a result of or in connection with the Bankruptcy
 Case, (a) there has not been a Material Adverse Effect and (b) the Sellers have not taken any
 action that, if taken following November 30, 2021, would have violated Section 5.1.

         2.19 Insurance. The Sellers are in material compliance with the terms and provisions
 of its policies of insurance, all such policies are in full force and effect and all premiums due and
 payable with respect to such policies have been paid. The Sellers have not received a written
 notice of cancellation or termination of any such policy. Except for the Insurance Claims, there
 are no pending claims or, to the Sellers Knowledge, incidents that would give rise to a claim
 under any such policy.

      2.20 Disclaimer    of  Other    Representations and   Warranties.
 NOTWITHSTANDING THE DELIVERY OR DISCLOSURE TO PURCHASER OR ITS
 RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS OR ADVISORS OF ANY
 DOCUMENTATION OR OTHER INFORMATION (INCLUDING ANY FINANCIAL
 PROJECTIONS OR OTHER SUPPLEMENTAL DATA), EXCEPT AS EXPRESSLY SET
 FORTH IN THIS ARTICLE 2 OR IN ANY DOCUMENT OR AGREEMENT
 CONTEMPLATED HEREBY, NEITHER THE SELLERS, ANY AFFILIATE OF A SELLER
 OR ANY OF THEIR RESPECTIVE ADVISORS OR ANY OTHER PERSON MAKES ANY
 REPRESENTATION OR WARRANTY, EXPRESS OR IMPLIED, AT LAW OR IN EQUITY,
 WITH RESPECT TO THIS AGREEMENT, THE TRANSACTIONS CONTEMPLATED
 HEREBY (INCLUDING ANY CONSENTS OR APPROVALS REQUIRED IN
 CONNECTION THEREWITH), THE ACQUIRED ASSETS, THE ASSUMED LIABILITIES,
 THE EXCLUDED ASSETS, OR ANY INFORMATION PROVIDED OR MADE
 AVAILABLE TO THE PURCHASER IN CONNECTION THEREWITH (INCLUDING ANY
 FORECASTS, PROJECTIONS, ESTIMATES OR BUDGETS), INCLUDING ANY
 WARRANTY WITH RESPECT TO MERCHANTABILITY OR FITNESS FOR ANY
 PARTICULAR PURPOSE, AND ALL OTHER REPRESENTATIONS OR WARRANTIES
 ARE HEREBY EXPRESSLY DISCLAIMED.

                                  ARTICLE 3
              REPRESENTATIONS AND WARRANTIES OF THE PURCHASER.

          The Purchaser represents and warrants, to and for the benefit of the Sellers, as follows:

         3.1     Authority; Binding Nature of Agreement. This Agreement constitutes the
 legal, valid and binding obligation of the Purchaser, enforceable against it in accordance with its
 terms, subject to the Enforceability Exceptions.

         3.2    Due Authorization. The Purchaser has all requisite power and authority to enter
 into this Agreement, to carry out its obligations hereunder and to consummate the transactions
 contemplated hereby. The execution, delivery and performance by the Purchaser of this
 Agreement have been duly approved and authorized by all necessary action.



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                                      ARTICLE 4
                              BANKRUPTCY COURT MATTERS

          4.1      Bankruptcy Actions.

                (a)    The Sellers and the Purchaser acknowledge that this Agreement and the
 sale of the Acquired Assets are subject to higher and better bids and Bankruptcy Court approval
 pursuant to the Bid Procedures Order. The Purchaser acknowledges that the Sellers must take
 reasonable steps to demonstrate that they have sought to obtain the highest or otherwise best
 price for the Acquired Assets, including giving notice thereof to the creditors of the Sellers and
 other interested parties, providing information about the Sellers to prospective bidders,
 entertaining higher and better offers from such prospective bidders, and, in the event that
 additional qualified prospective bidders desire to bid for the Acquired Assets, conducting an
 Auction.

                (b)    The Sellers shall use reasonable best efforts to cause the Bankruptcy Court
 to enter the Bid Procedures Order approving Bid Procedures acceptable to both the Purchaser
 and Sellers and consistent with the provisions and obligations set forth in Section 4.1(c) and
 4.1(d) below, as soon as practicable after full execution of this Agreement. If the Bankruptcy
 Court does not approve the Bid Procedures in their entirety, or if the Purchaser does not accept
 any modified terms approved by the Bankruptcy Court, then the Purchaser shall have the right to
 terminate this Agreement and neither party shall have any further obligation under this
 Agreement except for Sellers obligation to return the Deposits as provided for in Section 7.2.

                (c)      If the Purchaser is not the Successful Bidder (as defined in Section 4.1(e)
 at the Auction, if any is held, or if the Sellers defaults under this Agreement pursuant to Section
 9.4, Sellers shall, subject to Bankruptcy Court approval in connection with the approval of the
 Bid Procedures, pay to the Purchaser the Break-Up Fee as set forth in Section 7.3 as and for
 consideration of the Purchaser conducting its due diligence and entering into this Agreement
 subject to higher and better offers pursuant to the Auction, to compensate the Purchaser for its
 legal, accounting, and other professional costs and expenses, as well as the Purchasers internal
 management time, incurred in connection with the proposed sale.

                   (d)   Competing Bid Requirements.

                        (i)    A competing bid must be in the form of cash in an amount equal to
 or greater than the sum of the Purchase Price, plus (1) the amount of the Break-Up Fee, plus (2)
 Fifty Thousand Dollars ($50,000) (the Opening Bid), plus the value of Assumed Liabilities
 under this Agreement, and otherwise meet the financing and other requirements set forth in the
 Bid Procedures, including such requirements set forth in Section 4.1(d)(ii) (such bid, a
 Qualified Competing Bid). If there is a Qualified Competing Bid, Seller shall hold an auction
 for the Acquired Assets (the Auction) within five (5) Business Days of the Bid Deadline,
 provided, however, if the fifth (5th) day is not a Business Day, then the first Business Day
 following the fifth (5th) day, and as more fully described in the Bid Procedures (the Auction
 Date). At the Auction, the first subsequent bid must exceed the Opening Bid by at least Fifty
 Thousand Dollars ($50,000). Thereafter and continuing until there is only one (1) bidder
 remaining, each bidder must increase the subsequent bid in an amount of at least Fifty Thousand
 Dollars ($50,000) to remain a bidder in the Auction. To determine the winning bid at any such
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 Auction, the Sellers shall evaluate the value to be provided under the bids, including the net
 economic effect upon Sellers estate, taking into account the Break-Up Fee owed to the
 Purchaser and the obligations assumed by the Purchaser under this Agreement.

                         (ii)     To be deemed a Qualified Competing Bid, a bidder must comply
 with the Bid Procedures, including, without limitation: (1) submit its bid using an Asset Purchase
 Agreement substantially in the form of this Agreement, with a copy marked to show changes, if
 any, from this Agreement; (2) submit its bid by no later than 5:00 p.m. PST thirty (30) days after
 the entry of the Bid Procedures Order (the Bid Deadline); (3) not include any contingencies to
 closing the transaction in its bid, including, without limitation, financing, inspection, and due
 diligence contingencies; (4) be able to close the transaction no later than fifteen (15) days after
 entry of the Sale Order as further explained in the Bid Procedures; (5) provide at the time of its
 bid (A) a representation that the bidder has the financial ability to perform and provide
 evidentiary documentation demonstrating such financial ability to close (e.g., financial
 statements and bank statements that show available cash necessary to close the transaction) that
 are satisfactory to the Sellers in its reasonable discretion; and (B) a representation that the bidder
 is duly authorized to submit the bid and close the transaction and has already obtained all
 necessary approvals (e.g., board approvals), plus, if requested by Sellers, supporting documents
 satisfactory to Sellers in its reasonable discretion; and (6) submit with its bid a good-faith deposit
 in the amount of One Hundred Thousand Dollars ($100,000).

                 (e)    If an Auction is conducted, and the Purchaser is not the prevailing party at
 the conclusion of such Auction (such prevailing party, the Successful Bidder), the Purchaser
 shall be required to serve as a back-up bidder (the Backup Bidder) and keep the Purchasers
 bid to consummate the transactions contemplated by this Agreement on the terms and conditions
 set forth in this Agreement (as the same may be revised in the Auction) open and irrevocable
 until this Agreement is otherwise terminated. If the Successful Bidder fails to consummate the
 applicable Alternative Transaction as a result of a breach or failure to perform on the part of such
 Successful Bidder, the Backup Bidder will be deemed to have the new prevailing bid, and the
 Sellers may consummate the transactions contemplated by this Agreement on the terms and
 conditions set forth in this Agreement as such terms may have been improved upon in the
 Auction.

                 (f)     Notwithstanding anything herein to the contrary, the Purchaser
 acknowledges that the Sellers and their respective Affiliates and their respective professional
 advisors may, subsequent to the entry of the Bid Procedures Order, continue (i) soliciting
 inquiries, proposals, or offers for the Acquired Assets in connection with any Alternative
 Transaction, (ii) responding to requests for information or due diligence inquiries, or making
 management available for such purposes, to Persons in connection with any Alternative
 Transaction and (iii) furnishing any information with respect to, or assist or participate in, or
 facilitate in any other manner, any effort or attempt by any Person to do or seek to do any of the
 foregoing. Notwithstanding any other provision of this Agreement to the contrary, the Purchaser
 acknowledges and agrees that the Sellers and their respective Affiliates may enter into a
 definitive agreement providing for an Alternative Transaction.

                (g)    The Sellers shall promptly serve true and correct copies of the motion
 seeking entry of the Sale Order and all related pleadings in accordance with the Bid Procedures

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 Order, the Bankruptcy Code, the Bankruptcy Rules and any other applicable Order of the
 Bankruptcy Court.

                 (h)     The Purchaser shall promptly take all actions as are reasonably requested
 by the Sellers to assist in obtaining the Bankruptcy Courts entry of the Sale Order and any other
 Order reasonably necessary in connection with the transactions contemplated by this Agreement
 as promptly as practicable, including furnishing affidavits, financial information or other
 documents or information for filing with the Bankruptcy Court and making such employees and
 Advisors of the Purchaser and its Affiliates available to testify before the Bankruptcy Court for
 the purposes of, among other things providing necessary assurances of performance by Purchaser
 under this Agreement and demonstrating that the Purchaser is a good faith purchaser under
 section 363(m) of the Bankruptcy Code, as well as demonstrating the Purchasers ability to pay
 and perform or otherwise satisfy any Assumed Liabilities following the Closing.

         4.2    Cure Costs. Subject to entry of the Sale Order, the Purchaser shall, on or prior to
 the Closing (or, in the case of any Contract that is to be assigned following the Closing pursuant
 to Section 1.5, on or prior to the date of such assignment), pay the Cure Costs and cure any and
 all other defaults and breaches under the Assigned Contracts so that such Contracts may be
 assumed by the applicable Sellers and assigned to the Purchaser in accordance with the
 provisions of section 365 of the Bankruptcy Code and this Agreement.

         4.3      Bankruptcy Court Filings. The Sellers shall use reasonable best efforts to
 obtain entry of the Bid Procedures Order and the Sale Order. The Bid Procedures Order shall,
 among other things, approve the Break-Up Fee. The Sale Order shall, among other things, (a)
 approve and direct, pursuant to sections 105, 363, and 365 of the Bankruptcy Code, (i) the
 execution, delivery and performance by Sellers of this Agreement, (ii) the sale of the Acquired
 Assets to Purchaser on the terms set forth herein and free and clear of all Encumbrances (other
 than Permitted Encumbrances), and (iii) the performance by the Sellers of its obligations under
 this Agreement; (b) authorize, empower and direct the Sellers to assume and assign to the
 Purchaser the Assigned Contracts; (c) find that the Purchaser is a good faith buyer within the
 meaning of section 363(m) of the Bankruptcy Code, find that the Purchaser is not a successor to
 the Sellers, and grant the Purchaser the protections of section 363(m) of the Bankruptcy Code;
 (d) find that the Purchaser shall have no Liability or responsibility for any Liability or other
 obligation of the Sellers arising under or related to the Acquired Assets other than as expressly
 set forth in this Agreement, including successor or vicarious Liabilities of any kind or character,
 including any theory of antitrust, successor, or transferee Liability, labor law, de facto merger, or
 substantial continuity; (e) find that the Purchaser has provided adequate assurance (and as that
 term is used in section 365 of the Bankruptcy Code) of future performance in connection with
 the assumption of the Assigned Contracts; (f) find that the Purchaser shall have no Liability for
 any Excluded Liability; and (g) find that there was no violation of section 363(n) of the
 Bankruptcy Code. The Purchaser agrees that it will promptly take such actions as are reasonably
 requested by the Sellers to assist in obtaining Bankruptcy Court approval of the Sale Order,
 including furnishing affidavits or other documents or information for filing with the Bankruptcy
 Court for purposes, among others, of (x) demonstrating that the Purchaser is a good faith
 purchaser under section 363(m) of the Bankruptcy Code and (y) establishing adequate assurance
 of future performance within the meaning of section 365 of the Bankruptcy Code. At Closing,


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 the Purchaser shall pay $3,000,000 of the Purchase Price directly to Avnet, Inc. in full
 satisfaction of the Avnet Secured Claim.

         4.4    Approval. The Sellers obligations under this Agreement and in connection with
 the transactions contemplated hereby are subject to entry of and, to the extent entered, the terms
 of any Orders of the Bankruptcy Court (including entry of the Bid Procedures Order and the Sale
 Order). Nothing in this Agreement shall require the Sellers or their respective Affiliates to give
 testimony to or submit a motion to the Bankruptcy Court that is untruthful or to violate any duty
 of candor or other fiduciary duty to the Bankruptcy Court or its stakeholders.

                                       ARTICLE 5
                               COVENANTS AND AGREEMENTS

          5.1      Conduct of Business of the Sellers

                (a)      Until the earlier of the termination of this Agreement pursuant to Article 7
 and the Closing, except (w) for any limitations on operations imposed by the Bankruptcy Court
 or the Bankruptcy Code, (x) as required by applicable Law, Order or a Governmental Body, (y)
 as required or restricted by the terms of the DIP Loan Agreement, or (z) with the prior written
 consent of the Purchaser, the Sellers shall (i) operate the Acquired Assets only in the Ordinary
 Course and in all material respects in compliance with all applicable Laws, (ii) use reasonable
 best efforts to maintain the Acquired Assets in good working order (normal wear and tear
 excepted), and (iii) use reasonable best efforts to maintain satisfactory relationships with
 licensors, licensees, suppliers, contractors, distributors, consultants, customers, vendors and
 others having business relationships with the Sellers in connection with the operation of the
 Acquired Assets.

                (b)      Until the earlier of the termination of this Agreement pursuant to Article 7
 and the Closing, except (w) for any limitations on operations imposed by the Bankruptcy Court
 or the Bankruptcy Code, (x) as required by applicable Law, Order or a Governmental Body, (y)
 as required or restricted by the terms of the DIP Loan Agreement, or (z) with the prior written
 consent of the Purchaser, the Sellers shall not:

                        (i)    issue any notes, bonds or other debt securities, or otherwise incur
 any indebtedness for borrowed money or otherwise become liable for any such indebtedness of
 any other Person, in each case, other than Excluded Liabilities;

                      (ii)    terminate (other than by expiration), amend or modify (other than
 by automatic extension or renewal) in any material respect the terms of any Assigned Contract;
 provided, however, that the Sellers may terminate, amend or modify purchase orders in the
 Ordinary Course;

                      (iii) settle or compromise any pending or threatened Action if such
 settlement or compromise would create Liabilities that are not Excluded Liabilities;

                         (iv)    acquire any material assets that would become Acquired Assets or
 sell, assign, license, transfer, convey, lease, surrender, relinquish or otherwise dispose of any


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 Acquired Assets, other than (A) sales in the Ordinary Course, (B) licenses of Intellectual
 Property granted on a non-exclusive basis, or (C) pursuant to existing Contracts;

                       (v)   subject any portion of the Acquired Assets to any Encumbrance,
 except for Permitted Encumbrances;

                       (vi)   (A) increase wages or salary of any employee except in the
 Ordinary Course consistent with cost of living increases, (B) grant any bonuses to any employee
 except in the Ordinary Course pursuant to the Seller Plans or other applicable Contracts, or (C)
 increase other compensation or material benefits of any employee;

                         (vii)    hire any new employee;

                         (viii)   establish, enter into, terminate, adopt or amend any Seller Plan;

                    (ix)   fail to maintain any insurance policy in effect on the date hereof or
 amend any such policy (other than extensions, replacements or amendments thereof in the
 Ordinary Course);

                         (x)      amend the DIP Loan Agreement in any material respect;

                         (xi)   make, change or rescind any Tax election, amend any Tax Return,
 omit to take any action, enter into any settlement or compromise of any claim, notice, audit
 report or assessment in respect of any Taxes, adopt or change any method of Tax accounting,
 enter into any Tax allocation, sharing or closing agreement, surrender any right to claim a Tax
 refund, consent to any extension or waiver of the statute of limitations applicable to any Tax
 claim or assessment, or enter into any other transaction that would have the effect of increasing
 the Tax liability or reducing any Tax asset of Purchaser in respect of any Tax period ending after
 the Closing Date;

                         (xii)    make any expenditure except in accordance with the DIP Budget;
 or

                        (xiii) authorize any of, or commit or agree, in writing or otherwise, to
 take any of, the foregoing actions.

                 (c)     Notwithstanding anything to the contrary herein, the Purchaser
 acknowledges and agrees that the Sellers intend to liquidate and sell the Excluded Assets, and
 that the Sellers shall be permitted to take, or appoint a third party to take, all reasonable actions
 in connection therewith, including entering into liquidation agreements and other Contracts,
 selling Excluded Assets at discounted prices, and using Sellers Intellectual Property to advertise
 such sales and liquidation.

                (d)     Notwithstanding anything to the contrary herein, the Parties acknowledge
 and agree that the Sellers may determine their need to take measures or will sustain impacts on
 their respective business as a result of COVID-19, and nothing herein shall prevent the Sellers
 from taking all commercially reasonable measures in good faith in order to preserve their
 respective business, operations, assets, Liabilities, prospects or any portion thereof as a result

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 thereof, nor shall any such impact sustained by the Acquired Assets be deemed as a breach of
 this Agreement.

                  (e)     Nothing contained in this Agreement is intended to give the Purchaser or
 its Affiliates, directly or indirectly, the right to control or direct the Acquired Assets prior to the
 Closing in violation of applicable Laws.

         5.2     Access to Information. Until the earlier of the termination of this Agreement
 pursuant to Article 7 and the Closing, the Sellers (in its sole discretion) will provide the
 Purchaser and its professional advisors with reasonable access, upon reasonable advance notice
 and during regular business hours, to the books and records of the Sellers and their respective
 Affiliates, in order for the Purchaser and its professional advisors to access such information
 regarding the Sellers and their respective Affiliates as the Purchaser reasonably deems necessary
 in connection with effectuating the transactions contemplated by this Agreement; provided that
 (i) such access does not unreasonably interfere with the normal operations of the Seller, (ii) such
 access will occur in such a manner as the Sellers reasonably determines to be appropriate to
 protect the confidentiality of the transactions contemplated by this Agreement, and (iii) nothing
 herein will require the Sellers to provide access to, or to disclose any information to, the
 Purchaser if such access or disclosure (A) would waive any legal privilege or (B) would be in
 violation of applicable Laws; provided that, in the event that the Sellers withhold access or
 information in reliance on the foregoing clause (A) or (B), the Sellers shall provide (to the extent
 possible without waiving or violating the applicable legal privilege or Law) notice to the
 Purchaser that such access or information is being so withheld and shall use commercially
 reasonable efforts to provide such access or information in a way that would not risk waiver of
 such legal privilege or applicable Law.

          5.3      Intentionally Omitted.

          5.4      Reasonable Efforts; Cooperation.

                (a)    Subject to the other terms of this Agreement, each Party shall, and shall
 cause its professional advisors to, use its reasonable best efforts to perform its obligations
 hereunder and to take, or cause to be taken, and do, or cause to be done, all things necessary,
 proper, advisable or permitted under applicable Law to cause the transactions contemplated
 hereby to be effected as soon as practicable, but in any event on or prior to the Outside Date, in
 accordance with the terms hereof and to cooperate with each other Party and its professional
 advisors in connection with any step required to be taken as a part of its obligations hereunder.

                (b)     The obligations of the Sellers pursuant to this Agreement, including this
 Section 5.4, shall be subject to any Orders entered, or approvals or authorizations granted or
 required, by or under the Bankruptcy Court or the Bankruptcy Code (including in connection
 with the Bankruptcy Case), and each of Sellers obligations as a debtor-in-possession to comply
 with any Order of the Bankruptcy Court (including the Bid Procedures Order and the Sale Order)
 and Sellers duty to seek and obtain the highest or otherwise best price for the Acquired Assets
 as required by the Bankruptcy Code.

        5.5    Further Assurances. From time to time, as and when requested by any Party and
 at such requesting Partys expense, any other Party will execute and deliver, or cause to be
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 executed and delivered, all such documents and instruments and will take, or cause to be taken,
 all such further or other actions as such requesting Party may reasonably deem necessary or
 desirable to evidence and effectuate the transactions contemplated by this Agreement.

         5.6     Receipt of Misdirected Assets. From and after the Closing, if the Sellers or any
 of their respective Affiliates receives any right, property or asset that is an Acquired Asset, the
 Seller shall promptly transfer or cause such of its Affiliates to transfer such right, property or
 asset (and shall promptly endorse and deliver any such asset that is received in the form of cash,
 checks or other documents) to the Purchaser, and such asset will be deemed the property of the
 Purchaser held in trust by the Sellers for the Purchaser until so transferred. From and after the
 Closing, if the Purchaser or any of its Affiliates receives any right, property or asset that is an
 Excluded Asset, the Purchaser shall promptly transfer or cause such of its Affiliates to transfer
 such asset (and shall promptly endorse and deliver any such right, property or asset that is
 received in the form of cash, checks, or other documents) to the Sellers, and such right, property
 or asset will be deemed the property of the Sellers held in trust by the Purchaser for the Sellers
 until so transferred.

         5.7     Confidentiality. Following the completion of the Auction, the Sellers agree to
 maintain, unless disclosure is required by applicable Law, the confidentiality of any confidential
 information regarding the Acquired Assets which is in such Sellers possession or of which such
 Seller is aware. Each Seller hereby further agrees, unless disclosure is required by applicable
 Law, to use reasonable best efforts to safeguard such confidential information and to protect it
 against disclosure, misuse, loss and theft. In furtherance and not in limitation of the foregoing,
 such Seller shall not, unless required by applicable Law, disclose to any Person (a) any
 confidential information regarding the Acquired Assets, provided that confidential information
 shall not include information that becomes generally available to the public other than as a result
 of the breach of this Section 5.7 or information not otherwise known by such Seller that becomes
 available to such Seller from a Person other than the Purchaser not subject to an obligation of
 confidentiality to the Purchaser or the Acquired Assets, or (b) any of the discussions or
 negotiations conducted with the Purchaser in connection with this Agreement, provided that such
 Seller shall be entitled to disclose (i) any information required to be disclosed by such Seller to
 the Bankruptcy Court, parties in interest in the Bankruptcy Case, or other Persons bidding on
 assets of the Seller, (ii) any information required to be disclosed by such Seller pursuant to any
 applicable Law (including, without limitation, the Bankruptcy Code), legal proceeding or
 Governmental Body, or (iii) any information to such Sellers professional advisors on a need-to-
 know basis; provided that, in each case, such disclosure shall be limited to the information that is
 so required to be disclosed and the Person(s) to whom such disclosure is required.

         5.8     Casualty Loss. Notwithstanding any provision of this Agreement to the contrary,
 if, before the Closing, all or any portion of the Acquired Assets is (a) condemned or taken by
 eminent domain, or (b) is damaged or destroyed by fire, flood or other casualty, the Sellers shall
 notify the Purchaser promptly in writing of such fact, and (i) in the case of condemnation or
 taking, the Sellers shall assign or pay, as the case may be, any proceeds thereof to the Purchaser
 at the Closing, and (ii) in the case of fire, flood or other casualty, the Seller shall assign the
 insurance proceeds therefrom to the Purchaser at the Closing.

          5.9      Intentionally Omitted.

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          5.10     Notification of Certain Matters.

                 (a)     The Sellers shall give to the Purchaser, and the Purchaser shall give to the
 Sellers, copies of notices or other communications received by the Sellers or the Purchaser or by
 any of their respective Affiliates (as the case may be), from any third party and/or any
 Governmental Body with respect to the transactions contemplated by this Agreement that are not
 filed with the Bankruptcy Court.

                 (b)    Each Party shall promptly advise the other in writing of any matter
 hereafter arising or events or conditions arising prior to Closing, which, if existing or known at
 the date hereof and not set forth on the Schedules, would have constituted a breach of or
 inaccuracy in a representation made by such Party such that the conditions under Article 6, as the
 case may be, would not be satisfied.

                                         ARTICLE 6
                                   CONDITIONS TO CLOSING

         6.1   Conditions Precedent to the Obligations of the Purchaser and the Sellers. The
 respective obligations of each Party to this Agreement to consummate the transactions
 contemplated by this Agreement are subject to the satisfaction (or to the extent permitted by
 Law, written waiver) on or prior to the Closing Date, of each of the following conditions:

                 (a)    no court or other Governmental Body has issued, enacted, entered,
 promulgated or enforced any Law or Order (that has not been vacated, withdrawn or overturned)
 restraining, enjoining or otherwise prohibiting the transactions contemplated by this Agreement;
 and

               (b)     the Bankruptcy Court shall have entered the Bid Procedures Order and the
 Sale Order and such orders shall not have been reversed, modified, amended or stayed.

         6.2     Conditions Precedent to the Obligations of the Purchaser. The obligations of
 the Purchaser to consummate the transactions contemplated by this Agreement are subject to the
 satisfaction (or to the extent permitted by Law, written waiver by the Purchaser in its sole
 discretion), on or prior to the Closing Date, of each of the following conditions:

                   (a)    the Sellers shall have delivered to the Purchaser a certified copy of the
 Sale Order;

                 (b)     each of the representations and warranties made by the Sellers in Article 2
 (other than Sections 2.1, 2.2, 2.4(a)-(d) and 2.14) shall be true and correct as of the Closing Date
 (disregarding all qualifications or limitations as to materiality or Material Adverse Effect
 and words of similar import set forth therein), as though such representations and warranties had
 been made on and as of the Closing Date (except that representations and warranties that are
 made as of a specified date need be true and correct only as of such date), except where the
 failure of such representations and warranties to be true and correct has not had, and would not,
 individually or in the aggregate, reasonably be expected to have, individually or in the aggregate,
 a Material Adverse Effect and (ii) the representations and warranties set forth in Sections 2.1,
 2.2, 2.4(d)-(d) and (f) and 2.14 shall be true and correct in all respects as of the Closing Date

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 (disregarding all qualifications or limitations as to materiality or Material Adverse Effect
 and words of similar import set forth therein), as though such representations and warranties had
 been made on and as of the Closing Date (except that representations and warranties that are
 made as of a specified date need be true and correct only as of such date);

                 (c)     the Sellers shall have performed or caused to be performed, in all material
 respects, all of the obligations and covenants required by this Agreement to be performed by the
 Sellers on or prior to the Closing;

                 (d)      the Sellers shall have delivered, or caused to be delivered, to the Purchaser
 all of the items set forth in Section 1.8; and

               (e)       since the date of this Agreement, there shall not have been a Material
 Adverse Effect.

         6.3     Conditions Precedent to the Obligations of the Sellers. The obligations of the
 Sellers to consummate the transactions contemplated by this Agreement are subject to the
 satisfaction (or to the extent permitted by Law, written waiver by the Sellers in their sole
 discretion), on or prior to the Closing Date, of each of the following conditions:

                 (a)     each of the representations and warranties made by the Purchaser in
 Article 3 shall be true and correct in all material respects (without giving effect to any materiality
 or similar qualification contained therein), in each case as of the date hereof and as of the
 Closing Date, with the same force and effect as though all such representations and warranties
 had been made as of the Closing Date (other than representations and warranties that by their
 terms address matters only as of another specified date, which shall be so true and correct only as
 of such other specified date);

               (b)     the Purchaser shall have performed or caused to be performed, in all
 material respects, all of the obligations and covenants required by this Agreement to be
 performed by Purchaser by the Closing; and

                 (c)     the Purchaser shall have delivered, or caused to be delivered, to Sellers all
 of the items set forth in Section 1.9.

         6.4    Waiver of Conditions. None of the Purchaser or the Sellers may rely on the
 failure of any condition set forth in this Article 6 to be satisfied if such failure was caused by
 such Partys failure to use, as required by this Agreement, its reasonable best efforts to
 consummate the transactions contemplated hereby.

                                            ARTICLE 7
                                          TERMINATION

        7.1    Termination of Agreement. This Agreement may be terminated only in
 accordance with this Section 7.1. This Agreement may be terminated at any time prior to the
 Closing:

                   (a)   by the mutual written consent of the Sellers and the Purchaser;

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                 (b)     the issuance by any other Governmental Body of an Order restraining,
 enjoining, or otherwise prohibiting the consummation of the transactions contemplated by this
 Agreement or declaring unlawful the transactions contemplated by this Agreement, and such
 Order having become final, binding and non-appealable; provided that no termination may be
 made by a Party under this Section 7.1(b) if the issuance of such Order was caused by the breach
 or action or inaction of such Party;

                 (c)     by written notice of the Purchaser or the Sellers to the other Party, if the
 Closing shall not have occurred on or before February 28, 2022 (the Outside Date); provided
 that a Party shall not be permitted to terminate this Agreement pursuant to this Section 7.1(c) if
 the failure of the Closing to have occurred by the Outside Date was caused by the breach or
 action or inaction of such Party;

                 (d)     by written notice of the Purchaser or the Sellers to the other Party, if the
 Bankruptcy Case is dismissed or converted to a case or cases under Chapter 7 of the Bankruptcy
 Code, or if a trustee or examiner with expanded powers to operate or manage the financial affairs
 or reorganization of any Sellers is appointed in the Bankruptcy Case;

                (e)     by written notice from the Sellers to the Purchaser, upon a breach of any
 covenant or agreement on the part of the Purchaser, or if any representation or warranty of the
 Purchaser will have become untrue, in each case, such that the conditions set forth in Section
 6.3(a) or 6.3(b) would not be satisfied; provided that (i) if such breach is curable by the
 Purchaser then the Sellers may not terminate this Agreement under this Section 7.1(e) unless
 such breach has not been cured by the date which is the earlier of (A) two (2) Business Days
 prior to the Outside Date and (B) thirty (30) days after the Sellers notify the Purchaser of such
 breach and (ii) the right to terminate this Agreement pursuant to this Section 7.1(e) will not be
 available to the Sellers at any time that the Sellers are in material breach of any covenant,
 representation or warranty hereunder;

                (f)     by written notice from the Purchaser to the Sellers, upon a breach of any
 covenant or agreement on the part of the Sellers, or if any representation or warranty of the
 Sellers will have become untrue, in each case, such that the conditions set forth in Section 6.2(b)
 or 6.2(c) would not be satisfied; provided that (i) if such breach is curable by the Seller then the
 Purchaser may not terminate this Agreement under this Section 7.1(f) unless such breach has not
 been cured by the date which is the earlier of (A) two (2) Business Days prior to the Outside
 Date and (B) thirty (30) days after the Purchaser notifies the Sellers of such breach and (ii) the
 right to terminate this Agreement pursuant to this Section 7.1(f) will not be available to the
 Purchaser at any time that the Purchaser is in material breach of any covenant, representation or
 warranty hereunder;

                   (g)   Intentionally Omitted;

                (h)    by written notice from the Purchaser to the Sellers, if (i) the Sale Order
 shall not have been entered by the Bankruptcy Court by January 25, 2022, (ii) following its
 entry, the Sale Order shall fail to be in full force and effect or shall have been stayed, reversed,
 modified or amended in any respect or (iii) the Sellers have failed to comply with the Sale Order;

                   (i)   Intentionally Omitted;
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                (j)     by written notice from the Sellers to the Purchaser, if the Sellers or the
 board of directors (or similar governing body) of the Seller, based upon the written advice of the
 Sellers outside legal counsel, determines that proceeding with the transactions contemplated by
 this Agreement or failing to terminate this Agreement would be inconsistent with its or such
 Sellers or governing bodys fiduciary duties; or

                (k)    by written notice from the Sellers to the Purchaser, if (i) the Sellers enter
 into one or more Alternative Transactions with one or more Persons other than the Purchaser or
 (ii) the Bankruptcy Court approves an Alternative Transaction other than with the Purchaser, in
 each case, and such Alternative Transaction is consummated.

         7.2     Effect of Termination. In the event of termination of this Agreement pursuant to
 Section 7.1, this Agreement shall forthwith become void and there shall be no liability on the
 part of any Party, except that the Sellers shall return to the Purchaser the Deposit; provided that
 this Section 7.2, Section 7.3 and Article 9 shall survive any such termination.

          7.3      Termination Fee.

                (a)     In the event that this Agreement is terminated by the Sellers pursuant to
 Section 7.1(j) or Section 7.1(k), then the Sellers shall pay to the Purchaser an amount in cash
 equal to 3.0% of the Purchase Price (the Break-Up Fee); provided, however, that in the event
 the Sellers have insufficient funds at the time of the termination of this Agreement pursuant to
 Section 7.1(j) or Section 7.1(k) to pay both the full amount of the Break-Up Fee and the full
 amount of the Avent Secured Claim then the Purchaser shall have a secured claim (junior only to
 the Avnet Secured Claim) with respect to the unpaid portion of the Break-Up Fee. Any payment
 of the Break-Up Fee pursuant to the first sentence of this Section 7.3(a) in connection with the
 consummation of an Alternative Transaction or the consummation of any other transaction in
 which the Avnet Secured Claim has been or will be repaid in full shall be a super-priority
 administrative expense claim senior to all other administrative expense claims under section
 364(c)(1) of the Bankruptcy Code. In the event that this Agreement is terminated pursuant to
 Section 7.1(k), any payments of the Break-Up Fee shall be payable from, and shall at the time of
 closing be paid out of, the proceeds of the closing of the applicable Alternative Transaction.

                (b)      Each of the Sellers and the Purchaser acknowledges and agrees that: (i) the
 agreements contained in this Section 7.3 are an integral part of the transactions contemplated by
 this Agreement; (ii) the Break-Up Fee is not a penalty, but is liquidated damages, in a reasonable
 amount that will compensate the Purchaser in the circumstances in which such amount is
 payable, for the efforts and resources expended and opportunities foregone while negotiating this
 Agreement and in reliance on this Agreement and on the expectation of the consummation of the
 transactions contemplated hereby, which amount would otherwise be impossible to calculate
 with precision; and (iii) without these agreements, neither the Sellers nor the Purchaser would
 have entered into this Agreement.

                 (c)    As collateral security for the prompt and complete payment when due
 (whether at stated maturity, by acceleration or otherwise) of the Break-Up Fee pursuant to the
 terms of Section 7.3(a) (the Secured Obligations), the Sellers hereby mortgage, pledge and
 hypothecate to the Purchaser, and grants to the Purchaser an Encumbrance on and security
 interest in, all of such Sellers right, title and interest in, to and under all of the assets and
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 properties of such Seller (collectively, Collateral); provided, however, that the Encumbrance
 and security interest granted pursuant to this Section 7.3(c) shall in all events be junior to the
 liens and security interests securing the Avnet Secured Claim. The security interest granted
 pursuant to this Section 7.3(c) constitutes a valid and continuing perfected security interest in
 favor of the Purchaser in all Collateral. The Sellers hereby authorize the Purchaser to file one or
 more UCC-1 financing statements in the appropriate filing office to reflect the security interest
 granted pursuant to this Section 7.3(c).

                                           ARTICLE 8
                                            TAXES

         8.1    Transfer Taxes. Any sales, use, purchase, transfer, franchise, deed, fixed asset,
 stamp, documentary stamp, use, or other Taxes and recording charges payable by reason of the
 sale of the Acquired Assets or the assumption of the Assumed Liabilities under this Agreement
 or the transactions contemplated hereby (the Transfer Taxes) shall be borne 50% by the
 Sellers and 50% by the Purchaser, and the Purchaser shall timely file all Tax Returns related to
 any Transfer Taxes. The Sellers and the Purchaser shall use commercially reasonable efforts and
 cooperate in good faith to exempt all such transactions from any Transfer Taxes.

         8.2     Allocation of Purchase Price. For U.S. federal and applicable state and local
 income Tax purposes, the Purchaser, the Sellers, and their respective Affiliates shall allocate the
 Purchase Price (and any Assumed Liabilities or other items treated as part of the purchase price
 for applicable income Tax purposes) among the Acquired Assets in accordance with Section
 1060 of the Code and the Treasury Regulations promulgated thereunder (the Allocation
 Methodology). As soon as commercially practicable, the Purchaser shall provide a proposed
 allocation to the Sellers setting forth the allocation of the Purchase Price (and other amounts
 treated as Purchase Price for U.S. federal income Tax purposes) among the Acquired Assets in
 accordance with the Allocation Methodology (the Allocation). If the Sellers deliver a written
 objection within thirty (30) days after receipt of the draft Allocation proposed by the Purchaser,
 then the Purchaser and the Sellers shall negotiate in good faith to resolve any such objection.
 Any resolution by the Sellers and the Purchaser shall be conclusive and binding on the Parties
 once set forth in writing (any such conclusive and binding Allocation, the Final Purchase Price
 Allocation). If the Sellers and the Purchaser cannot resolve such dispute within thirty (30) days
 of the Purchasers receipt of the Sellers objection, the Final Purchase Price Allocation shall be
 determined pursuant to Section 9.13. The Parties and their respective Affiliates shall file all Tax
 Returns in accordance with the Allocation Methodology and the Final Purchase Price Allocation
 (if any). None of the Parties shall take any Tax related action inconsistent with the Final
 Purchase Price Allocation (if any) unless otherwise required by a determination within the
 meaning of Section 1313(a) of the Code.

         8.3    Cooperation. The Purchaser and the Sellers shall reasonably cooperate, as and to
 the extent reasonably requested by the other Party, in connection with the filing of Tax Returns
 and any Action, audit, litigation, or other proceeding with respect to Taxes.

          8.4      Preparation of Tax Returns and Payment of Taxes.

                  (a)    Except as otherwise provided by Section 8.1, the Sellers shall prepare and
 timely file (i) all Tax Returns with respect to the Acquired Assets for any Tax period ending on
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 or before the Closing Date other than with respect to any Assumed Tax and (ii) all income Tax
 Returns of the Sellers for all Tax Periods. Except to the extent any Tax reflected on a return
 required to be prepared and filed by the Sellers pursuant to this Section 8.4 is constitutes an
 Assumed Liability, the Sellers shall be responsible for paying any Taxes due with respect to Tax
 Returns that the Sellers are obligated to prepare and file under this Section 8.4(a).

                 (b)     The Purchaser shall prepare and timely file all other Tax Returns with
 respect to the Acquired Assets that are not addressed by Section 8.4(a). With respect to any
 Straddle Period, the Purchaser shall prepare such Tax Returns consistent with past practice of the
 Sellers, and shall provide the Sellers with a draft of such Tax Returns at least thirty (30) days
 prior to the filing of any such Tax Return. Purchaser shall incorporate any changes reasonably
 requested by the Sellers with respect to such Tax Returns; provided that such changes are
 consistent with past practice of the Sellers and applicable Law. The Purchaser shall be
 responsible for paying any Assumed Tax reflected on any Tax Return that the Purchaser is
 obligated to prepare and file under this Section 8.4(b).

                                         ARTICLE 9
                                      MISCELLANEOUS

         9.1     Non-Survival of Representations and Warranties and Certain Covenants;
 Certain Waivers. Each of the representations and warranties and the covenants and agreements
 (to the extent such covenant or agreement contemplates or requires performance by such Party
 prior to the Closing) of the Parties set forth in this Agreement or in any other document
 contemplated hereby, or in any certificate delivered hereunder or thereunder, will terminate
 immediately as of the Closing such that no claim for breach of any such representation, warranty,
 covenant or agreement, detrimental reliance or other right or remedy (whether in Contract, in tort
 or at law or in equity) may be brought with respect thereto after the Closing. Each covenant and
 agreement that explicitly contemplates performance after the Closing, will, in each case and to
 such extent, expressly survive the Closing in accordance with its terms, and nothing in this
 Section 9.1 will be deemed to limit any rights or remedies of any Person for breach of any such
 surviving covenant or agreement. The Purchaser and the Sellers acknowledge and agree, on their
 own behalf and on behalf of their respective Affiliates, as the case may be, that the agreements
 contained in this Section 9.1 (a) require performance after the Closing to the maximum extent
 permitted by applicable Law and will survive the Closing, and (b) are an integral part of the
 transactions contemplated hereby and that, without the agreements set forth in this Section 9.1,
 none of the Parties would enter into this Agreement.

         9.2     Indemnity; Expenses. Whether or not the Closing takes place, the Sellers shall
 indemnify, and hold harmless, the Purchaser and its Affiliates and their respective
 representatives and agents from all Liability (including reasonable expenses of counsel) arising
 from any Action instituted in the Bankruptcy Case in connection with the transactions
 contemplated hereby. Whether or not the Closing takes place, except as otherwise provided
 herein (including, for the avoidance of doubt, Section 7.3), all fees, costs and expenses
 (including fees, costs and expenses of professional advisors) incurred in connection with the
 negotiation of this Agreement and the other agreements contemplated hereby, the performance of
 this Agreement and the other agreements contemplated hereby and the consummation of the
 transactions contemplated hereby and thereby will be paid by the Party incurring such fees, costs

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 and expenses; it being acknowledged and agreed that (a) all Transfer Taxes will be allocated
 pursuant to Section 8.1 and (b) all Cure Costs will be allocated pursuant to Section 1.3(b) and
 Section 4.2.

         9.3     Notices. All notices, requests, demands and other communications under this
 Agreement shall be in writing and shall be deemed to have been duly given or made as follows:
 (a) if sent by registered or certified mail in the United States return receipt requested, upon
 receipt; (b) if sent designated for overnight delivery by nationally recognized overnight air
 courier (such as Federal Express), one Business Day after delivery to such courier; (c) if
 otherwise actually personally delivered, when delivered; (d) if delivered by electronic mail
 before 5:00 p.m. (local time at the location of recipient) on a Business Day, when transmitted
 and receipt is confirmed; and (e) if delivered by electronic mail after 5:00 p.m. (local time at the
 location of recipient), when transmitted and receipt is confirmed, at 9:00 a.m. (local time at the
 location of recipient) on the following Business Day, provided that such notices, requests,
 demands and other communications are delivered to the address set forth below, or to such other
 address as any party shall provide by like notice to the other parties to this Agreement:

                   Notices to Purchaser:

                   Instantiation LLC
                   434 Dorado Beach E
                   Dorado, Puerto Rico 00646
                   Attention:     Sam Cassatt
                   Email:         sam@aligned.capital

                   with a copy to (which shall not constitute notice for purposes of this Section 9.3):

                   Sheppard, Mullin, Richter & Hampton LLP
                   Four Embarcadero Center
                   17th Floor
                   San Francisco, California 94111
                   Attention:    Jason R. Schendel and Jeannie Kim
                   Email:        jschendel@sheppardmullin.com
                                 jekim@sheppardmullin.com




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                   Notices to Sellers:

                   Squirrels Research Labs, LLC
                   121 Wilbur Drive NE
                   North Canton, OH 44720
                   Attention:    David Stanfill, President
                   Email:        david@squirrelsresearch.com

                   and

                   The Midwest Data Company LLC
                   121 Wilbur Drive NE
                   North Canton, OH 44720
                   Attention:    David Stanfill, President
                   Email:        david@squirrelsresearch.com

                   with a copy to (which shall not constitute notice for purposes of this Section 9.3):

                   Brouse McDowell, a Legal Professional Association
                   388 S. Main Street, Suite 500
                   Akron, OH 44311
                   Attention:    Marc B. Merklin
                   Email:        MMerklin@brouse.com

          9.4      Remedies.

                  (a)      Default by Purchaser. The parties agree that the Purchase Price has been
 determined not only by a consideration of the value of the property per se but also by a
 consideration of the value of the various covenants, conditions and warranties of this Agreement
 as they relate to the property. The consideration of such values, sometimes measurable in relation
 to known external standards and sometimes determined only by subjective business judgments of
 the parties, are all interrelated and affected by the Parties ultimate agreement upon the Purchase
 Price. The Parties have discussed and negotiated in good faith upon the question of the damages
 that would be suffered by Sellers in the event this Agreement terminates prior to the close of
 escrow due to a buyer material default. It shall be a material default by Purchaser under this
 Agreement (a Purchasers Default) if any of the Purchasers representations and warranties
 are materially untrue or the Purchaser shall fail to perform or comply with any of its covenants,
 acts and agreements contained in this agreement in any material respect when required to be
 performed hereunder and such failure shall continue for five (5) Business Days after Sellers give
 Purchaser written notice of such failure, except that if such failure relates to any material
 covenant or agreement to be performed at the Closing, there shall be no notice required or grace
 or cure period allowed. If a Purchasers Default occurs and provided no material default by a
 Seller has occurred that has not been cured, then such Seller shall have the right to terminate this
 Agreement immediately by giving written notice to the Purchaser, in which event, the Parties
 have endeavored to reasonably estimate such damages and they hereby agree that, by reason of
 the aforesaid considerations, (i) such damages are and will be impracticable or extremely
 difficult to fix, (ii) liquidated damages in the amount of any Deposits actually delivered by the

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 Purchaser are and will be reasonable, (iii) in the event of such default, Sellers shall receive such
 Deposits as liquidated damages, and (iv) in consideration of the payment of such liquidated
 damages, Sellers shall be deemed to have waived all other claims for damages.

                (b)     Default by Seller. If this transaction fails to close as a result of a Sellers
 material default, which such Seller fails to cure within five (5) Business Days after receipt of
 written notice describing in reasonable detail the nature of such material default, then the
 Purchasers sole and exclusive remedy shall be to (i) terminate this Agreement by giving Sellers
 written notice of the Purchasers election to immediately terminate this Agreement and receive
 an administrative claim in the Bankruptcy Case pursuant to section 503(b) of the Bankruptcy
 Code in the amount of the Breakup Fee or (ii) assert and seek judgment against Seller for
 specific performance, and if such judgment is not obtained, then exercise such remedy under
 Section 9.4(b)(i) hereof.

         9.5     Binding Effect; Assignment. This Agreement shall be binding upon the
 Purchaser and, subject to the terms of the Bid Procedures Order (with respect to the matters
 covered thereby) and the entry and terms of the Sale Order, the Sellers, and shall inure to the
 benefit of and be so binding on the Parties and their respective successors and permitted assigns,
 including any trustee or estate representative appointed in the Bankruptcy Case or any successor
 Chapter 7 case; provided that neither this Agreement nor any of the rights or obligations
 hereunder may be assigned or delegated without the prior written consent of the Purchaser and
 the Sellers, and any attempted assignment or delegation without such prior written consent shall
 be null and void; provided, however, upon prior written notice to the Sellers, the Purchaser shall
 have the right to assign its rights and/or delegate its obligations hereunder (a) to any Affiliates
 and (b) after Closing, to any subsequent purchaser of all or any portion of the equity interests or
 assets of the Purchaser or the Acquired Assets.

         9.6    Amendment and Waiver. Any provision of this Agreement or the Schedules or
 exhibits hereto may be (a) amended only in a writing signed by the Purchaser and the Sellers or
 (b) waived only in a writing executed by the Person against which enforcement of such waiver is
 sought. No waiver of any provision hereunder or any breach or default thereof will extend to or
 affect in any way any other provision or prior or subsequent breach or default.

        9.7     Third Party Beneficiaries. Except as otherwise expressly provided herein,
 nothing expressed or referred to in this Agreement will be construed to give any Person other
 than the Parties any legal or equitable right, remedy, or claim under or with respect to this
 Agreement or any provision of this Agreement.

         9.8     Severability. Whenever possible, each provision of this Agreement will be
 interpreted in such manner as to be effective and valid under applicable Law, but if any provision
 of this Agreement is held to be prohibited by or invalid under applicable Law in any jurisdiction,
 such provision will be ineffective only to the extent of such prohibition or invalidity in such
 jurisdiction, without invalidating the remainder of such provision or the remaining provisions of
 this Agreement or in any other jurisdiction.

        9.9    Construction. The language used in this Agreement will be deemed to be the
 language chosen by the Parties to express their mutual intent, and no rule of strict construction
 will be applied against any Person. The headings of the sections and paragraphs of this
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 Agreement have been inserted for convenience of reference only and will in no way restrict or
 otherwise modify any of the terms or provisions hereof.

         9.10 Schedules. The Schedules have been arranged for purposes of convenience in
 separately numbered sections corresponding to the sections of this Agreement; however, each
 section of the Schedules will be deemed to incorporate by reference all information disclosed in
 any other section of the Schedules to the extent reasonably apparent. Capitalized terms used in
 the Schedules and not otherwise defined therein have the meanings given to them in this
 Agreement. The specification of any dollar amount or the inclusion of any item in the
 representations and warranties contained in this Agreement, the Schedules or the exhibits is not
 intended to imply that the amounts, or higher or lower amounts, or the items so included, or other
 items, are or are not required to be disclosed (including whether such amounts or items are
 required to be disclosed as material or threatened) or are within or outside of the Ordinary
 Course, and no Party will use the fact of the setting of the amounts or the fact of the inclusion of
 any item in this Agreement, the Schedules, any updated Schedules, or exhibits in any dispute or
 controversy between the Parties as to whether any obligation, item or matter not set forth or
 included in this Agreement, the Schedules or exhibits is or is not required to be disclosed
 (including whether the amount or items are required to be disclosed as material or threatened) or
 are within or outside of the Ordinary Course. In addition, matters reflected in the Schedules are
 not necessarily limited to matters required by this Agreement to be reflected in the Schedules.
 Such additional matters are set forth for informational purposes only and do not necessarily
 include other matters of a similar nature. No information set forth in the Schedules will be
 deemed to broaden in any way the scope of the Parties representations and warranties. Any
 description of any agreement, document, instrument, plan, arrangement or other item set forth on
 any Schedule is a summary only and is qualified in its entirety by the terms of such agreement,
 document, instrument, plan, arrangement, or item which terms will be deemed disclosed for all
 purposes of this Agreement. The information contained in this Agreement, in the Schedules and
 exhibits is disclosed solely for purposes of this Agreement, and no information contained herein
 or therein will be deemed to be an admission by any Party to any third party of any matter
 whatsoever, including any violation of Law or breach of Contract.

         9.11 Complete Agreement. This Agreement, together with the Schedules and any
 other agreements expressly referred to herein or therein, contains the entire agreement of the
 Parties respecting the sale and purchase of the Acquired Assets and the Assumed Liabilities and
 the other transactions contemplated by this Agreement and supersedes all prior agreements
 among the Parties respecting the sale and purchase of the Acquired Assets and the Assumed
 Liabilities and the other transactions contemplated by this Agreement. In the event an ambiguity
 or question of intent or interpretation arises with respect to this Agreement, the terms and
 provisions of the execution version of this Agreement will control and prior drafts of this
 Agreement and the documents referenced herein will not be considered or analyzed for any
 purpose (including in support of parol evidence proffered by any Person in connection with this
 Agreement), will be deemed not to provide any evidence as to the meaning of the provisions
 hereof or the intent of the Parties with respect hereto and will be deemed joint work product of
 the Parties.

       9.12 Specific Performance. The Parties agree that irreparable damage, for which
 monetary relief, even if available, would not be an adequate remedy, would occur in the event

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 that any provision of this Agreement is not performed in accordance with its specific terms or is
 otherwise breached, including if any of the Parties fails to take any action required of it
 hereunder to consummate the transactions contemplated by this Agreement. It is accordingly
 agreed that (a) the Parties will be entitled to an injunction or injunctions, specific performance or
 other equitable relief to prevent breaches or threatened breaches of this Agreement and to
 enforce specifically the terms and provisions hereof in the courts described in Section 9.13
 without proof of damages or otherwise, this being in addition to any other remedy to which they
 are entitled under this Agreement, and (b) the right of specific performance and other equitable
 relief is an integral part of the transactions contemplated by this Agreement and without that
 right, neither the Sellers nor the Purchaser would have entered into this Agreement. The Parties
 acknowledge and agree that any Party pursuing an injunction or injunctions or other Order to
 prevent breaches or threatened breaches of this Agreement and to enforce specifically the terms
 and provisions of this Agreement in accordance with this Section 9.12 will not be required to
 provide any bond or other security in connection with any such Order. The remedies available to
 the Sellers pursuant to this Section 9.12 will be in addition to any other remedy to which they
 were entitled at law or in equity, and the election to pursue an injunction or specific performance
 will not restrict, impair or otherwise limit any Sellers from seeking to collect or collecting
 damages. If, prior to the Outside Date, any Party brings any Action, in each case in accordance
 with this Section 9.12, to enforce specifically the performance of the terms and provisions hereof
 by any other Party, the Outside Date will automatically be extended (y) for the period during
 which such Action is pending, plus ten (10) Business Days or (z) by such other time period
 established by the court presiding over such Action, as the case may be. In no event will this
 Section 9.12 be used, alone or together with any other provision of this Agreement, to require
 any Sellers to remedy any breach of any representation or warranty of any Sellers made herein.

         9.13 Jurisdiction and Exclusive Venue. Each of the Parties irrevocably agrees that
 any Action that may be based upon, arising out of, or related to this Agreement or the
 negotiation, execution or performance of this Agreement and the transactions contemplated
 hereby brought by any other Party or its successors or assigns will be brought and determined
 only in (a) the Bankruptcy Court and any federal court to which an appeal from the Bankruptcy
 Court may be validly taken or (b) if the Bankruptcy Court is unwilling or unable to hear such
 Action, in the Delaware Court of Chancery (or, if the Delaware Chancery Court declines to
 accept jurisdiction over a particular matter, any state or federal court located within Wilmington,
 Delaware) (the courts described in clauses (a) and (b), the Chosen Courts), and each of the
 Parties hereby irrevocably submits to the exclusive jurisdiction of the Chosen Courts for itself
 and with respect to its property, generally and unconditionally, with regard to any such Action
 arising out of or relating to this Agreement and the transactions contemplated hereby. Each of
 the Parties agrees not to commence any Action relating thereto except in the Chosen Courts,
 other than Actions in any court of competent jurisdiction to enforce any Order, decree or award
 rendered by any Chosen Court, and no Party will file a motion to dismiss any Action filed in a
 Chosen Court on any jurisdictional or venue-related grounds, including the doctrine of forum
 non-conveniens. The Parties irrevocably agree that venue would be proper in any of the Chosen
 Courts, and hereby irrevocably waive any objection that any such court is an improper or
 inconvenient forum for the resolution of such Action. Each of the Parties further irrevocably and
 unconditionally consents to service of process in the manner provided for notices in Section 9.3.
 Nothing in this Agreement will affect the right of any Party to serve process in any other manner
 permitted by Law.

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          9.14     Governing Law; Waiver of Jury Trial.

                 (a)   Except to the extent the mandatory provisions of the Bankruptcy Code
 apply, this Agreement, and any Action that may be based upon, arising out of or related to this
 Agreement or the negotiation, execution or performance of this Agreement or the transactions
 contemplated hereby will be governed by and construed in accordance with the internal Laws of
 the State of Delaware applicable to agreements executed and performed entirely within such
 State without regards to conflicts of law principles of the State of Delaware or any other
 jurisdiction that would cause the Laws of any jurisdiction other than the State of Delaware to
 apply.

             (b)   EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
 CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT, THE DOCUMENTS
 AND AGREEMENTS CONTEMPLATED HEREBY AND THE TRANSACTIONS
 CONTEMPLATED HEREBY AND THEREBY IS LIKELY TO INVOLVE COMPLICATED
 AND DIFFICULT ISSUES AND EACH PARTY THEREFORE HEREBY WAIVES, TO THE
 FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE
 TO A TRIAL BY JURY IN ANY ACTION BASED ON, ARISING OUT OF OR RELATED
 TO THIS AGREEMENT, ANY DOCUMENT OR AGREEMENT CONTEMPLATED
 HEREBY OR THE TRANSACTIONS CONTEMPLATED HEREBY AND THEREBY. EACH
 OF THE PARTIES AGREES AND CONSENTS THAT ANY SUCH ACTION WILL BE
 DECIDED BY COURT TRIAL WITHOUT A JURY AND THAT THE PARTIES TO THIS
 AGREEMENT MAY FILE AN ORIGINAL COUNTERPART OF A COPY OF THIS
 AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE
 PARTIES TO THE IRREVOCABLE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.
 EACH PARTY (I) CERTIFIES THAT NO ADVISOR OF ANY OTHER PARTY HAS
 REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
 NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
 AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN
 INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE
 MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION. THE PROVISIONS OF
 THIS SECTION 9.13 SHALL BE ENFORCEABLE BY EACH DEBT FINANCING SOURCE,
 ITS AFFILIATES AND THEIR RESPECTIVE SUCCESSORS AND PERMITTED ASSIGNS.

         9.15 Counterparts. This Agreement and any other agreements referred to herein or
 therein, and any amendments hereto or thereto, may be executed in multiple counterparts, any
 one of which need not contain the signature of more than one party hereto or thereto, but all such
 counterparts taken together will constitute one and the same instrument. Delivery of an executed
 counterpart of the signature page to this Agreement or any agreement or instrument
 contemplated hereby by email, facsimile, portable document format (pdf) or any electronic
 signature complying with the U.S. federal ESIGN Act of 2000 (including DocuSign) shall be as
 effective as delivery of a manually executed counterpart of this Agreement. Minor variations in
 the form of the signature page to this Agreement or any agreement or instrument contemplated
 hereby, including footers from earlier versions of this Agreement or any such other document,
 will be disregarded in determining the effectiveness of such signature. At the request of any
 party or pursuant to any such Contract, each other party hereto or thereto will re-execute original
 forms thereof and deliver them to all other parties. No party hereto or to any such Contract will

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 raise the use of a DocuSign, .PDF or other electronic transmission to deliver a signature or the
 fact that any signature or Contract was transmitted or communicated through the use of
 DocuSign, .PDF or other electronic transmission as a defense to the formation of a Contract and
 each such party forever waives any such defense.

         9.16 Publicity. Neither the Sellers nor the Purchaser shall issue any press release or
 public announcement concerning this Agreement or the transactions contemplated hereby
 without obtaining the prior written approval of the other Party, which approval will not be
 unreasonably withheld, conditioned or delayed, unless, in the reasonable judgment of the
 Purchaser or the Sellers, as the case may be, disclosure is otherwise required by applicable Law
 or by the Bankruptcy Court with respect to filings to be made with the Bankruptcy Court in
 connection with this Agreement, provided that the Party intending to make such release shall use
 its reasonable best efforts consistent with such applicable Law or Bankruptcy Court requirement
 to consult with the other Party with respect to the text thereof.

         9.17 Bulk Sales Laws. The Parties intend that, pursuant to section 363(f) of the
 Bankruptcy Code, the transfer of the Acquired Assets contemplated hereby shall be free and
 clear of any Encumbrances (other than Permitted Encumbrances) including any liens or claims
 arising out of the bulk transfer laws, and the Parties shall take such steps as may be necessary or
 appropriate to so provide in the Sale Order. In furtherance of the foregoing, each Party hereby
 waives compliance by the Parties with the bulk sales, bulk transfers or similar Laws and all
 other similar Laws in all applicable jurisdictions in respect of the transactions contemplated by
 this Agreement.

         9.18 No Solicitation. This Agreement and the transactions contemplated herein are
 the product of negotiations among the Parties. Notwithstanding anything herein to the contrary,
 this Agreement is not, and shall not be deemed to be, (a) a solicitation of votes for the acceptance
 of any plan of reorganization for the purposes of sections 1125 and 1126 of the Bankruptcy Code
 or otherwise or (b) an offer for the issuance, purchase, sale, exchange, hypothecation, or other
 transfer of securities or a solicitation of an offer to purchase or otherwise acquire securities for
 purposes of the Securities Act of 1933 (Securities Act) or the Securities Exchange Act of 1934
 (the Exchange Act) and the Seller will not solicit acceptances of any plan of reorganization
 from any party until such party has been provided with copies of a disclosure statement
 containing adequate information as required by section 1125 of the Bankruptcy Code.

          9.19     Release.

                 (a)     Effective upon the Closing, the Sellers on behalf of themselves and their
 respective Affiliates and each of their respective directors, officers, control persons (as defined in
 Section 15 of the Securities Act or Section 20 of the Exchange Act), members, employees,
 agents, attorneys, financial advisors, consultants, professional advisors, legal representatives,
 shareholders, partners, estates, successors and assigns solely in their capacity as such, and any of
 their respective agents, attorneys, financial advisors, professional advisors, legal advisors,
 Affiliates, directors, managers, officers, control persons, shareholders, members or employees, in
 each case, solely in their capacity as such (each a Related Party, and collectively, the Related
 Parties) acknowledges that it has no claim, counterclaim, setoff, recoupment, action or cause of
 action of any kind or nature whatsoever against the Purchaser or any of its Related Parties that

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 directly or indirectly arises out of, is based upon, or is in any manner connected with any
 transaction, event, circumstances, action, failure to act or occurrence of any sort or type,
 including any approval or acceptance given or denied, whether known or unknown, which
 occurred, existed, was taken or begun prior to the consummation of the transactions
 contemplated hereunder (any and all such direct or derivative claims, collectively, the Seller
 Released Claims); and, should any Seller Released Claims nonetheless exist, the Seller on
 behalf of itself and its Related Parties hereby (i) releases and discharges the Purchaser and its
 Related Parties from any liability whatsoever on such Seller Released Claims that directly or
 indirectly arises out of, is based upon, or is in any manner connected with any transaction, event,
 circumstances, action, failure to act or occurrence of any sort or type, including any approval or
 acceptance given or denied, whether known or unknown, which occurred, existed, was taken or
 begun prior to the consummation of the transactions contemplated hereunder, and (ii) releases,
 remises, waives and discharges all such Seller Released Claims against the Purchaser and its
 Related Parties; provided that nothing herein shall release the Purchaser of its obligations under
 this Agreement and the other documents and agreements contemplated herein.

                (b)     Effective upon the Closing, the Purchaser on behalf of itself and its
 Affiliates acknowledges that it has no claim, counterclaim, setoff, recoupment, action or cause of
 action of any kind or nature whatsoever against the Sellers or any of its Related Parties that
 directly or indirectly arises out of, is based upon, or is in any manner connected with any
 transaction, event, circumstances, action, failure to act or occurrence of any sort or type,
 including any approval or acceptance given or denied, whether known or unknown, which
 occurred, existed, was taken or begun prior to the consummation of the transactions
 contemplated hereunder (any and all such direct or derivative claims, collectively, the
 Purchaser Released Claims); and, should any Purchaser Released Claims nonetheless exist,
 the Purchaser on behalf of itself and its Affiliates hereby (i) releases and discharges the Sellers
 and each of its Related Parties from any liability whatsoever on Purchaser Released Claims that
 directly or indirectly arises out of, is based upon, or is in any manner connected with any
 transaction, event, circumstances, action, failure to act or occurrence of any sort or type,
 including any approval or acceptance given or denied, whether known or unknown, which
 occurred, existed, was taken or begun prior to the consummation of the transactions
 contemplated hereunder, and (ii) releases, remises, waives and discharges all such Purchaser
 Released Claims against the Sellers and each of their Related Parties; provided that nothing
 herein shall release the Sellers of its obligations (A) under this Agreement and the other
 documents and agreements contemplated herein or (B) for indemnification of any individuals
 serving as a director or manager of any Sellers or under any directors and officers insurance
 policy.

                (c)     Without limiting in any way the scope of the release contained in this
 Section 9.19 and effective upon the Closing, each Party, to the fullest extent allowed under
 applicable Law, hereby waives and relinquishes all statutory and common law protections
 purporting to limit the scope or effect of a general release, whether due to lack of knowledge of
 any claim or otherwise, including, waiving and relinquishing the terms of any Law which
 provides that a release may not apply to material unknown claims. Each Party hereby affirms its
 intent to waive and relinquish such unknown claims and to waive and relinquish any statutory or
 common law protection available in any applicable jurisdiction with respect thereto.


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         9.20 Amendment and Restatement. This Agreement amends certain provisions of
 the Original APA in their entirety so as to reflect and give effect to such amendments. All
 amendments to the Original APA effected by this Agreement shall have effect from the date of
 this Agreement, and all other covenants, agreements, terms and provisions of this Agreement,
 shall have effect from the date of the Original APA.

                                    ARTICLE 10
                 ADDITIONAL DEFINITIONS AND INTERPRETIVE MATTERS

          10.1     Certain Definitions.

         Action means any Order, action, claim (including a counterclaim, cross-claim, or
 defense), complaint, grievance, summons, suit, litigation, arbitration, mediation, audit,
 proceeding (including any civil, criminal, administrative, investigative or appellate proceeding),
 prosecution, contest, hearing, inquiry, inquest, audit, examination or investigation, of any kind
 whatsoever, regardless of the legal theory under which such Liability or obligation may be
 sought to be imposed, whether sounding in Contract or tort, or whether at law or in equity, or
 otherwise under any legal or equitable theory, commenced, brought, conducted or heard by or
 before, or otherwise involving, any Governmental Body or arbitrator.

         Affiliate means, with respect to any Person, any other Person that, directly or indirectly
 through one or more intermediaries, controls, or is controlled by, or is under common control
 with, such Person, and the term control (including the terms controlled by and under
 common control with) means the possession, directly or indirectly, of the power to direct or
 cause the direction of the management and policies of such Person, whether through ownership
 of voting securities, by Contract or otherwise.

         Alternative Transaction means any transaction (or series of transactions), whether
 direct or indirect, concerning a sale, merger, acquisition, issuance, financing, recapitalization,
 reorganization, liquidation or disposition of the Sellers or any portion of its equity interests or
 any material portion of its assets (in any form of transaction, whether by merger, sale of assets or
 equity or otherwise) with any party other than the Purchaser or its Affiliates; provided, however,
 that the foregoing shall not include (a) sales of goods and services in the Ordinary Course and (b)
 any sale of the Excluded Assets pursuant to inter alia, sections 105, 363 and 365 of the
 Bankruptcy Code, in accordance with the Bankruptcy Rules.

         Anti-Bribery and Anti-Corruption Law means, collectively: (a) the U.S. Foreign
 Corrupt Practices Act (FCPA); (b) the UK Bribery Act 2010; and (c) any other anti-bribery or
 anticorruption laws, statutes, and regulations applicable to the Acquired Assets.

         Assumed Taxes means any Liability for Taxes arising from the ownership or operation
 of the Acquired Assets for any taxable period (including any portion thereof) beginning after the
 Closing Date (including the portion of any Straddle Period after the Closing Date). In the case of
 any Straddle Period, (a) property taxes for the period following the Closing Date shall be equal
 to the amount of such property taxes for the entire Straddle Period multiplied by a fraction, the
 numerator of which is the number of days during the Straddle Period that is for the period
 following the Closing Date and the denominator of which is the number of days in the entire


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 Straddle Period, and (b) Taxes (other than property taxes) for the period following the Closing
 Date shall be computed as if such taxable period began on the day following the Closing Date.

        Auction has the meaning ascribed to such term in the Bid Procedures Order and
 Section 4.1(d).

        "Avnet Secured Claim" means the claim of Avnet, Inc. against SQRL in the Bankruptcy
 Case, which claim shall be treated as an allowed claim that is fully secured under 11 U.S.C.
 §506(a) in the amount of three million dollars ($3,000,000).

         Bid Procedures means the bidding and sale procedures approved by the Bankruptcy
 Court, including the Competing Bid Requirements set forth in Section 4.1(d).

        Bid Procedures Order means a final order of the Bankruptcy Court, in form and
 substance reasonably acceptable to the Purchaser and Sellers, meeting the requirements of
 Section 4.1, and which, among other things establishes a date by which Qualified Competing
 Bids must be submitted.

      Business Day means any day other than a Saturday, Sunday or other day on which
 commercial banks in Canton, Ohio are generally authorized or required by Law to be closed.

         Business Intellectual Property means Intellectual Property used or held out for use by
 the Sellers prior to the Closing in connection with the Acquired Equipment including without
 limitation the copyrights, software code, and designs but excluding, for the avoidance of doubt,
 the Registered IP.

          Cash and Cash Equivalents means all of the Sellers cash (including petty cash and
 checks received on or prior to the Closing), checking account balances, marketable securities,
 certificates of deposits, time deposits, bankers acceptances, commercial paper, security
 entitlements, securities accounts, commodity Contracts, commodity accounts, government
 securities and any other cash equivalents, whether on hand, in transit, in banks or other financial
 institutions, or otherwise held.

          Code means the United States Internal Revenue Code of 1986.

        Consent means any approval, consent, ratification, permission, waiver or other
 authorization, or an Order of the Bankruptcy Court that deems or renders unnecessary the same.

        Contract means any written contract, purchase order, station agreement, tower lease,
 service order, sales order, indenture, note, bond, Lease, sublease, mortgage, agreement,
 guarantee, purchase order, license, collective bargaining agreement, or other agreement that is
 binding upon a Person or its property.

        COVID-19 means SARS-CoV-2 or COVID-19, any evolutions thereof or related or
 associated epidemics, pandemics or disease outbreaks and any future epidemics, pandemics or
 disease outbreaks.



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         DIP Budget means the pro forma budget delivered to the Purchaser specifying the
 Sellers operating budget, in form and substance reasonably satisfactory to the Purchaser, with
 any modifications thereto made (a) in accordance with the DIP Loan Agreement or (b) with the
 written approval of the Purchaser, not to be unreasonably withheld, conditioned or delayed.

        DIP Financing Motion means the motion filed by MWDC seeking the Bankruptcy
 Courts approval of the DIP Loan and the DIP Loan Agreement pursuant to Sections 105, 362,
 363, and 364 of the Bankrtupcy Code, in form and substance reasonably satisfactory to the
 Purchaser.

         DIP Final Order means a final order entered by the Bankruptcy Court which, among
 other things, approves the DIP Loan and the DIP Loan Agreement on a final basis, in form and
 substance reasonably satisfactory to the Purchaser.

        DIP Interim Order means an interim order entered by the Bankruptcy Court which,
 among other things, approves the DIP Loan Agreement on an interim basis, in form and
 substance reasonably satisfactory to the Purchaser.

         DIP Loan Agreement means that certain Loan and Security Agreement, dated on or
 about the date hereof, by and between the Purchaser, as lender, and MWDC, as borrower.

        DIP Loan means debtor-in-possession financing facility made available by the
 Purchaser to MWDC pursuant to the DIP Loan Agreement.

         Documents means all of the Sellers written files, documents, instruments, papers,
 books, reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans,
 operating records, safety and environmental reports, data, studies, and documents, Tax Returns,
 ledgers, journals, title policies, customer lists, listener registries, regulatory filings, operating
 data and plans, research material, technical documentation (design specifications, engineering
 information, test results, maintenance schedules, functional requirements, operating instructions,
 logic manuals, processes, flow charts, etc.), user documentation (installation guides, user
 manuals, training materials, release notes, working papers, etc.), marketing documentation (sales
 brochures, flyers, pamphlets, web pages, etc.), and other similar materials, in each case whether
 or not in electronic form.

          Encumbrance means any lien (as defined in section 101(37) of the Bankruptcy Code),
 encumbrance, claim (as defined in section 101(5) of the Bankruptcy Code), charge, mortgage,
 deed of trust, option, pledge, security interest or similar interests, hypothecations, easements,
 rights of way, encroachments, Orders and conditional sale or other title retention agreements and
 other rights of first refusal or first offer, activity and use limitations, title defects, and any other
 restrictions of any kind.

         Environmental Laws all applicable Laws including any common law cause of action
 concerning (a) pollution or protection of the environment, or worker health and safety (solely to
 the extent relating to exposure to Hazardous Substances) or (b) the manufacture, processing,
 distribution, use, treatment, storage, disposal, transport, handling, release or threatened release of
 Hazardous Substances.


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         Equipment means any and all machinery, equipment, auxiliary and translator facilities,
 transmitting towers, transmitters, broadcast equipment, antennae, cables, supplies, vehicles,
 furniture, fixtures, appliances, servers, traffic systems, graphic systems, audio boards, switchers,
 radar systems, microwaves, transponders, relays, backup generators, computers, computer
 hardware and peripherals, information technology infrastructure, telephone systems, office
 equipment, cameras, production equipment, inventory, leasehold improvements, spare parts and
 other tangible personal property of every kind and description, together with all rights against the
 manufacturers and/or suppliers of any of the foregoing.

          ERISA means the Employee Retirement Income Security Act of 1974.

         GAAP means United States generally accepted accounting principles as in effect from
 time to time applied consistently throughout the periods involved.

        Governmental Authorization means any permit, license, certificate, approval, consent,
 permission, clearance, designation, qualification or authorization issued, granted, given or
 otherwise made available by or under the authority of any Governmental Body or pursuant to
 any Law.

        Governmental Body means any government, quasi governmental entity, or other
 governmental or regulatory body, agency or political subdivision thereof of any nature, whether
 foreign, federal, state or local, or any agency, branch, department, official, entity, instrumentality
 or authority thereof, or any court or arbitrator (public or private) of applicable jurisdiction.

         Hazardous Substance means any toxic or hazardous material, substance or waste
 regulated under any Environmental Laws.

         Intellectual Property means all intellectual property rights anywhere in the world
 arising under or associated with: (a) patents and patent applications; (b) trademarks, service
 marks, trade dress, trade names, logos, slogans, domain names, and other designations of origin,
 and all registrations and applications for registration therefor, together with all goodwill
 associated therewith; (c) copyrights (and any other equivalent rights in works of authorship
 (including rights in Software as a work of authorship and rights in programs and programming
 materials)); (d) trade secrets and industrial secrets, and rights in know-how and other confidential
 or proprietary business or technical information in each case that derive independent economic
 value from not being generally known (Trade Secrets); (e) rights in domain names, uniform
 resource locators, Social Media Accounts, social media identifiers and other names and locators
 associated with Internet addresses and sites; (f) engineering data, advertising studies, databases,
 marketing and demographic data, advertiser, exhibitor and vendor lists, credit and sales reports;
 and (g) other similar or equivalent intellectual property rights anywhere in the world.

         Knowledge of the Seller, Sellers Knowledge, Seller has Knowledge and words of
 similar import mean the actual knowledge of David Stanfill after due inquiry.

         Law means any federal, state, provincial, local, municipal, foreign or international,
 multinational or other law, statute, legislation, constitution, principle of common law, resolution,
 ordinance, code, edict, decree, proclamation, treaty, convention, rule, regulation, ruling,
 directive, pronouncement, determination, decision, opinion or requirement issued, enacted,

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 adopted, promulgated, implemented or otherwise put into effect by or under the authority of any
 Governmental Body.

          Liability means, as to any Person, any debt, adverse claim, liability (including any
 liability that results from, relates to or arises out of tort or any other product liability claim), duty,
 responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure, charge, fee,
 penalty, fine, contribution, or premium of any kind or nature whatsoever, whether known or
 unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
 liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred
 or asserted or when the relevant events occurred or circumstances existed.

          Material Adverse Effect means any event, change, occurrence, or effect (each, an
 Effect) that, individually or in the aggregate with all other Effects, has had, or would
 reasonably be expected to have, a material adverse effect on the Acquired Assets and Assumed
 Liabilities, taken as whole; provided, however, that none of the following, and no Effect arising
 out of, or resulting from, the following, shall constitute, or be taken into account, individually or
 in the aggregate, in determining whether or not there has been, a Material Adverse Effect: (a)
 Effects in, arising from or relating to general business or economic conditions affecting the
 industry in which the Sellers operate, (b) Effects in, arising from or relating to national or
 international political or social conditions, including rioting, domestic disturbance or the
 engagement by the United States in hostilities or the escalation thereof, whether or not pursuant
 to the declaration of a national emergency or war, or the occurrence or the escalation of any
 military, cyber or terrorist attack upon the United States, or any of its territories, possessions, or
 diplomatic or consular offices or upon any military installation, asset, equipment or personnel of
 the United States, (c) Effects in, arising from or relating to financial, banking, or securities
 markets (including (i) any disruption of any of the foregoing markets, (ii) any change in currency
 exchange rates, (iii) any decline or rise in the price of any security, commodity, Contract or
 index and (iv) any increased cost, or decreased availability, of capital or pricing or terms related
 to any financing for the transactions contemplated by this Agreement), (d) Effects in, arising
 from or relating to changes in GAAP, (e) Effects in, arising from or relating to changes in, Laws
 or other binding directives or determinations issued or made by or agreements with or consents
 of any Governmental Body, (f) Effects in, arising from or relating to (i) the taking of any action
 at the request of the Purchaser or its Affiliates, (ii) the failure to take any action if such action is
 prohibited by this Agreement, (iii) the Purchasers failure to consent to any of the actions
 restricted in Section 5.1 or (iv) the negotiation, announcement or pendency of this Agreement or
 the transactions contemplated hereby or the identity, nature or ownership of the Purchaser,
 including the impact thereof on the relationships, contractual or otherwise, of the business of the
 Sellers with employees, customers, lessors, suppliers, vendors or other commercial partners, (g)
 Effects that arise from any seasonal fluctuations in the Sellers business and operations, (h) any
 failure, in and of itself, to achieve any budgets, projections, forecasts, estimates, plans,
 predictions, performance metrics or operating statistics or the inputs into such items (whether or
 not shared with the Purchaser or its Affiliates or professional advisors) (but, for the avoidance of
 doubt, not the underlying causes of any such failure to the extent such underlying cause is not
 otherwise excluded from the definition of Material Adverse Effect), (i) the effect of any action
 taken by the Purchaser or its Affiliates with respect to the transactions completed by this
 Agreement or the financing thereof or any breach by the Purchaser of this Agreement, (j) the
 matters set forth on the Schedules and any changes or developments in, or effects or results

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 arising from or relating to, matters expressly set forth on the Schedules, (k) (i) the
 commencement or pendency of the Bankruptcy Case; (ii) any objections in the Bankruptcy Court
 to (A) this Agreement or any of the transactions contemplated hereby or thereby, (B) the
 reorganization of the Sellers, or (C) the assumption or rejection of any Assigned Contract; and
 (iii) any Order of the Bankruptcy Court or any actions or omissions of the Sellers in compliance
 therewith, or (m) any fire, flood, hurricane, earthquake, tornado, windstorm, other calamity or act
 of God, global or national health concern, epidemic, pandemic (whether or not declared as such
 by any Governmental Body), viral outbreak (including COVID-19), including any Law,
 directive, pronouncement or guideline issued by a Governmental Body, the Centers for Disease
 Control and Prevention, the World Health Organization or industry group providing for business
 closures, sheltering-in-place, curfews or other restrictions that relate to, or arise out of, a
 national health concern, epidemic or pandemic (including COVID-19) or any change in such
 Law, directive pronouncement or guideline thereof following the date of this Agreement or any
 material worsening of such conditions threatened or existing as of the date of this Agreement or
 any quarantine, stay-at-home orders, shelter-in-place orders, or trade restrictions related thereto
 or any other force majeure; provided, further, however, that any Effect referred to in clauses (a),
 (b) or (c) may be taken into account in determining whether or not there has been or may be a
 Material Adverse Effect to the extent such Effects have a materially disproportionate adverse
 effect on the Acquired Assets, taken as a whole, as compared to other participants engaged in the
 industries and geographies in which the Sellers operate the Acquired Assets.

       Order means any injunction, order, decree, ruling, writ, assessment or arbitration award
 of a Governmental Body, including any order entered by the Bankruptcy Court in the
 Bankruptcy Case (including the Sale Order).

         Ordinary Course means the ordinary and usual course of operations of the Sellers in
 connection with the use and operation of the Acquired Assets prior to the Closing consistent with
 past practice, taking into account the commencement and pendency of the Bankruptcy Case and
 recent past practice in light of COVID-19; provided, that, any action taken, or omitted to be
 taken, in good faith on a commercially reasonable basis that relates to, or arises out of, COVID-
 19 shall be deemed to be in the Ordinary Course.

         Permitted Encumbrances means (a) utilities and current Taxes not yet due and
 payable, or the amount or validity of which are being contested in good faith by appropriate
 proceedings, or the nonpayment of which is permitted or required by the Bankruptcy Code, (b)
 easements, rights of way, restrictive covenants, encroachments and similar non-monetary
 encumbrances or non-monetary impediments of public record against any of the Acquired
 Assets, (c) materialmans, mechanics, artisans, shippers, warehousemans or other similar
 common law or statutory liens incurred in the Ordinary Course for amounts not yet due and
 payable or the amount or validity of which are being contested in good faith by appropriate
 proceedings, (d) such other Encumbrances or title exceptions as the Purchaser may approve in
 writing in its sole discretion or which do not, individually or in the aggregate, materially and
 adversely affect the operation of the Acquired Assets, (e) any Encumbrances that will be
 removed or released by operation of the Sale Order, (f) Encumbrances included in the Assumed
 Liabilities, and (g) liens that will be released at Closing.



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         Person means an individual, corporation, partnership, limited liability company, joint
 venture, association, trust, unincorporated organization, labor union, estate, Governmental Body
 or other entity or group.

         Protected Information means personally identifiable information within the meaning
 of section 363(b) of the Bankruptcy Code included as part of the Acquired Assets.

       Sale Motion means the motion of the Sellers seeking approval and entry of the Bid
 Procedures Order and the Sale Order in form and substance approved by the Purchaser.

          Sale Order means the order of the Bankruptcy Court to be entered by the Bankruptcy
 Court pursuant to Sections 363 and 365 of the Bankruptcy Code in form and substance approved
 by the Purchaser, which order, amongst other approvals, (a) approves the sale of the Acquired
 Assets to the Purchaser free and clear of all Encumbrances and Liabilities pursuant to Section
 363(f) of the Bankruptcy Code other than the Assumed Liabilities as set forth herein, and (b)
 approves the direct payment by Purchaser to Avnet, Inc. of $3,000,000 of the Purchase Price in
 full satisfaction of the Avnet Secured Claim.

        Seller Plan means (a) employee benefit plan within the meaning of Section 3(3) of
 ERISA, (b) stock option, stock purchase, stock appreciation right or other equity or equity-based
 agreement, program or plan, (c) employment, severance, retention or other similar agreement,
 and (d) bonus, incentive, deferred compensation, profit-sharing, post- termination health or
 welfare, vacation, severance or termination pay or other material compensation or benefit plan,
 program, policy, agreement or other arrangement, in all cases, other than any plan or
 arrangement sponsored or maintained by a Governmental Body.

        Social Media Account means an account registration with a social media platform,
 such as Facebook, Instagram, Twitter, Pinterest, Google, TikTok and the like, and includes
 handle names.

        Straddle Period means any Tax period beginning on or before, and ending after, the
 Closing.

         Tax or Taxes means any federal, state, local, foreign or other income, gross receipts,
 capital stock, franchise, profits, withholding, social security, unemployment, disability, real
 property, ad valorem/personal property, stamp, excise, occupation, sales, use, transfer, value
 added, import, export, alternative minimum or estimated tax, including any interest, penalty or
 addition thereto.

         Tax Return means any return, claim for refund, report, statement or information return
 relating to Taxes required to be filed with a Governmental Body, including any schedule or
 attachment thereto, and including any amendments thereof.

         10.2 Rules of Interpretation. Unless otherwise expressly provided in this Agreement,
 the following will apply to this Agreement, the Schedules, the exhibits and any other certificate,
 instrument, agreement or other document contemplated hereby or delivered hereunder:



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               (a)    Accounting terms which are not otherwise defined in this Agreement have
 the meanings given to them under GAAP consistently applied. To the extent that the definition
 of an accounting term defined in this Agreement is inconsistent with the meaning of such term
 under GAAP, the definition set forth in this Agreement will control.

                 (b)    The terms hereof, herein and hereunder and terms of similar import
 are references to this Agreement as a whole and not to any particular provision of this
 Agreement. Section, clause, schedule and exhibit references contained in this Agreement are
 references to sections, clauses, schedules and exhibits in or to this Agreement, unless otherwise
 specified. All exhibits and Schedules annexed hereto or referred to herein are hereby
 incorporated in and made a part of this Agreement as if set forth in full herein. Any capitalized
 terms used in any Schedule or exhibit but not otherwise defined therein shall be defined as set
 forth in this Agreement.

                (c)     Whenever the words include, includes or including are used in this
 Agreement, they will be deemed to be followed by the words without limitation. Where the
 context permits, the use of the term or will be equivalent to the use of the term and/or.

                (d)     The words to the extent shall mean the degree to which a subject or
 other thing extends, and such phrase shall not mean simply if.

                (e)     When calculating the period of time before which, within which or
 following which any act is to be done or step taken pursuant to this Agreement, the date that is
 the reference date in calculating such period will be excluded. If the last day of such period is a
 day other than a Business Day, the period in question will end on the next succeeding Business
 Day.

                (f)     Words denoting any gender will include all genders, including the neutral
 gender. Where a word is defined herein, references to the singular will include references to the
 plural and vice versa.

              (g)         The word will will be construed to have the same meaning and effect as
 the word shall.       The words shall, will, or agree(s) are mandatory, and may is
 permissive.

               (h)     All references to $ and dollars will be deemed to refer to United States
 currency unless otherwise specifically provided.

                (i)     All references to a day or days will be deemed to refer to a calendar day or
 calendar days, as applicable, unless otherwise specifically provided.

                (j)     Any document or item will be deemed delivered, provided or made
 available by the Sellers, within the meaning of this Agreement if such document or item is (i)
 actually delivered or provided to the Purchaser or any of the Purchasers professional advisors or
 (ii) made available upon request, including at the Sellers offices.

               (k)    Any reference to any agreement or Contract will be a reference to such
 agreement or Contract, as amended, modified, supplemented or waived.

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                 (l)    Any reference to any particular Code section or any Law will be
 interpreted to include any amendment to, revision of or successor to that section or Law
 regardless of how it is numbered or classified; provided that, for the purposes of the
 representations and warranties set forth herein, with respect to any violation of or non-
 compliance with, or alleged violation of or non-compliance, with any Code section or Law, the
 reference to such Code section or Law means such Code section or Law as in effect at the time
 of such violation or non-compliance or alleged violation or non-compliance.

               (m) A reference to any Party to this Agreement or any other agreement or
 document shall include such Partys successors and permitted assigns.

                (n)     The Parties have participated jointly in the negotiation and drafting of this
 Agreement. In the event an ambiguity or question of intent or interpretation arises, this
 Agreement shall be construed as if drafted jointly by the Parties and no presumption or burden of
 proof shall arise favoring or disfavoring any party by virtue of the authorship of any of the
 provisions of this Agreement.

                (o)    This Agreement is in the English language, and while this Agreement may
 be translated into other languages, the English language version shall control. All notices,
 demands, requests and other documents or communications under or in connection with this
 Agreement will be in English or will be accompanied by a certified English translation (in which
 case the English version will prevail in the event of a conflict except to the extent the
 communication contains or consists of an official document issued by a Governmental Body in a
 language other than English).



                                      [Signature pages follow]




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        IN WITNESS WHEREOF, the parties hereto have executed this Agreement to be
 signed effective as of the date first above written by their duly authorized agents.

  SELLERS:                                       BUYER:

  SQUIRRELS RESEARCH LABS LLC                    INSTANTIATION LLC

  By: ____________________________               By: ____________________________
  Name: David Stanfill                           Name: Sam Cassatt
  Title: Authorized Signatory                    Title: Managing Member


  THE MIDWEST DATA COMPANY LLC

  By: ____________________________
  Name: David Stanfill
  Title: Authorized Signatory




             Signature page to Second Amended and Restated Asset Purchase Agreement

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                                       Schedule 1.1(a)

                                 Specific Acquired Equipment

 See Attachment 1.1(a) entitled SQRL_Assets_8_31_2021_BidFinal.xlsx.




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Item                                                        Location                             Qty
Acorn Cle101                                                4-5-1/4-5-G                          3,086
Acorn Fan 2010                                              4-5-1                                17,087
QSFP                                                        1-2-1                                3,358
Nest Fans                                                   4-3-1                                3,526
Acorn Cle215+ Heatsink                                      4-5-1/4-5-G                          7,441
Acorn 101 ready to ship                                     Green shelf                          623
Thermal Pads 4mm-Gray                                       4-2-1                                11,500
Thermal Pads 2mm-Gray                                       4-2-1                                12,375
Thermal Pads 3mm- Gray                                      4-2-1                                11,000
Cooling Fin/BCU Passive- New                                1-3-2                                320
VRM Heatsink-for Acorns                                     shipstation                          5,524
Acorn Cle215 Heatsink                                       4-5-1/4-5-G                          2,961
BCU Backplates                                              1-2-2                                1,563
Heatsink                                                    1-2-2                                3,096
Fan Plate BCU Active                                        1-3-1                                1,535
BCU Duct                                                    1-3-1                                1,426
Heat Conduction Adhesive EC090211 (Expired)                 4-2-1                                42
11 Tubes Solder paste                                       8050 Northside Dock
RED TOTE OF M2 THUNDERBOLD ADAPTORS APPROX 10 QTY           8050 Old Warehouse Area
BCU Waterblocks                                             1-3-1                                10
approximately 800 ESD miscellaneous chip trays              8050 Production SMT Room
6 Canister Solder Paste                                     8050 Northside Dock
Miscellanous 10GA Copper Wire in Pink Totes                 8050 Northside Dock
5x Acorn 215                                                8050 Northside Dock
Acorn 215+ ready to ship                                    Green shelf                          3
2x TPS 543E20 EVM-799 Evaluation Kits                       8050 Northside Dock
SCRAP PDU Internal Parts                                    8050 Office Construction Area
MISC DEV ACORN NESTS (4)                                    8050 Old Warehouse Area
15 bittmain power supplies (bad)                            8050 Midwest Air DC
11 HP Power supplies (bad)                                  8050 Midwest Air DC
3x Acorn 101                                                8050 Northside Dock




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Item                                                             Location                        Qty
BOX OF CAMO SPRAY PAINT APPROX 30 CANS                           8050 Old Warehouse Area
Acorn 215 ready to ship                                          Green shelf                     1
Miscellanous Large Wood Pallets                                  8050 Northside Dock
FF12NF Broken Juki Feeder                                        8050 Northside Dock
K601432 24MM Broken Juki Feeder                                  8050 Northside Dock
1 Acorn 215+                                                     8050 Northside Dock
6 cans Rustoleoum Spray Paint                                    8050 New Liquid Room
4 Cans Galvinizing Spray Paint                                   8050 New Liquid Room
4x Empty STM32 Boxes                                             8050 Northside Dock
Acrylic from BCU Waterblock (Scrap)                              1-3-1                           305
M.2 PCIE adaptor                                                 1-2-G                           4,074
M.2pcle cable                                                    shipstation                     5,886
Thermal Pads 1.5mm- Gray                                         4-2-1                           18,000
13 boxes MX Waterblocks and Back Plates                          8050 Production Assembly Room
Thermal Pads .5mm-Gray                                           4-2-1                           23,750
Unshielded Ram (Ballistix 4GB DDR4 dimms)                        4-4-1                           742
10 boxes FK Passive Heatsinks                                    8050 Production Assembly Room
Shielded Ram (Ballistix 4GB DDR4 dimms)                          4-4-1                           659
10x 30 port manifolds                                            Skymax Midwest Liquid DC
Liebert EPA150C PDUs (qty 13) Misc/Rough Condition               8050 New Liquid Room
PARMSCO 5X170FL-316L SERIAL 02168 FILTER TANK                    8050 Old Warehouse Area
Generac 750kw dual-engine generator (1 engine blown)             8050 Old Outdoor Fixtures
Generac 750kw dual-engine generator (1 engine blown)             8050 Old Outdoor Fixtures
Generac 600kw dual-engine generator (1 engine blown)             8050 Old Outdoor Fixtures
KISS-102 ss-047 IR2SDI Selective Solder Machine                  8050 Production SMT Room
Q SFP/used                                                       1-2-1                           195
GENERAC SYSTEM CONTROLLER AND GENERAC GTS SYSTEM PANEL           8050 Old Warehouse Area
DH-A2E Automated Rework system and tool kit                      8050 Production SMT Room
Slayers (240v Crypto PDUs)                                       3-5-G                           6
Brady i5100 printer and 2 spools of labels                       8050 Production SMT Room
2 STAINLESS STEEL 4" X 30"1 DISTRIBUTION MANIFOLD                8050 Old Warehouse Area




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Item                                                                          Location                        Qty
50 HP Red Fire Pump Westinghouse Serial 7412                                  8050 Northside Dock
15 stencils                                                                   8050 Production Assembly Room
6 boxes JCM thermal pads                                                      8050 Production Assembly Room
2 boxes +2 pink totes used AlphaNovaTech Heatsinks                            8050 Production Assembly Room
Gardner Denver Electa-Screw Air Compressor/Dryer-Dryer non functional- serial 8050 Northside Dock
Ingersol Rand Air Dryer Serial 23231657                                       8050 Northside Dock
Hard Drive for FK Host Box                                                    4-4-1                           13
MAMCorp MC301 Small Oven                                                      8050 Production SMT Room
2x DI Water Tanks                                                             8050 Northside Dock
Heatsink 8.8mmx8.8mmx5mm                                                      1-2-2                           465
Palletized Stainless Dishwasher(maytag)/Rheem Water Heater and Tank           8050 Northside Dock
GOULDS PUMP 50HP AND SIEMENS MOTOR SERIAL 721F965.103-SIEZED/NOT W 8050 Old Warehouse Area
1 Liebert PPA 150C -Rough Condition                                           8050 Clean New DC
1 box open 35P waterblocks                                                    8050 Production Assembly Room
7 Stencils                                                                    8050 Production SMT Room
6600lb Pake Red Pallet Jack                                                   8050 Northside Dock
GB AX370 Gaming motherboard w/4 sticks ballistic RAM                          8050 Production SMT Room
Eaton Disconnects and Sheet Metal for 10HP Pump Pkgs                          8050 New Liquid Room
2x Red 10HP Pump Package                                                      8050 New Liquid Room
9 boxes 4" and 2" PVC/ 1 Box Spa Manifolds                                    8050 New Liquid Room
1 box used FK heatsinks                                                       8050 Production SMT Room
JVC soldering station 205842-300                                              8050 Production SMT Room
4 36" stencils                                                                8050 Production SMT Room
Miscellanous Damaged PCIE Cables and Breakouts-Approx 12                      8050 New Liquid Room
Miscellaneous C13 Cables Approx 6                                             8050 New Liquid Room
Approximately 20 SQRL Breakout boards                                         8050 Production Assembly Room
Molex 2002182200A Hand Crimp applicator                                       8050 Production Assembly Room
EVGA 600W Power supply                                                        8050 Production SMT Room
0520195040 Xtronic Rework station                                             8050 Production SMT Room
2 box CAT6 1000' Partially Used                                               8050 New Server Closet
amput model 457 scale                                                         8050 Production SMT Room




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Item                                                                                Location                        Qty
APC Pro1300                                                                         8050 New Server Closet
Milwaukee Hole Saw Bits                                                             8050 Production Assembly Room
Vornado Fan                                                                         8050 Production SMT Room
Box CAT6 Cable 1000' Partially Used                                                 8050 New Liquid Room
Miscellaneous Shelf 3/4" Strain Reliefs (15) and Wire Nuts (500pcs-partiall used)   8050 New Liquid Room
2 totes cut vinyl tubing                                                            8050 Production Assembly Room
4 reels SQRL Stickers                                                               8050 Production Assembly Room
LTR System tape rolls with SQRL and QC Stickers                                     8050 Production Assembly Room
11 SQRL Breakouts with 6 SQRL PCIE Cables                                           8050 Production Assembly Room
White Rolling 40 gal trash can                                                      8050 New Liquid Room
misc small hand tools                                                               8050 Production SMT Room
approx 20L isopropyl alcohol                                                        8050 Production Assembly Room
Box of Amazon copy paper                                                            8050 Production SMT Room
Miscellaneous Network and C13 Power Cables-qty 10                                   8050 New Liquid Room
2 sets keyboards/mice                                                               8050 Production SMT Room
Miscellaneous Zip ties                                                              8050 New Liquid Room
Misc Paper Towels and Cleaners                                                      8050 Old Warehouse Area
Trash Bags                                                                          8050 Old Warehouse Area
Towels                                                                              8050 Old Warehouse Area
BROKEN (Burnt) Disassembled 50HP GOULDS PUMP                                        8050 Old Warehouse Area
APPROX 12 DAMAGED/DEAD CVP 13 IN BAGS                                               8050 Old Warehouse Area
4x Emerson /Liebert CW Cooling Cracs                                                8050 Clean New DC
KE2080L W TR5 Tray Handler Serial 2007.05.21 and Serial 5D0-l1198                   8050 Production SMT Room
KE2070L Serial 2000-542338 273-j3619                                                8050 Production SMT Room
Waterpipes                                                                          1-6-G                           11,200
Barb Assemblies for vinyl tube                                                      1-4-1                           5293
Fan/Bcu Active 9BMB12P2J619                                                         1-3-2                           1,198
Approximately 732 HP common slot PSUs                                               Skymax Midwest Liquid DC
3x Drycooler                                                                        Skymax Midwest Liquid DC
Approximately 732 HP common slot breakout boards + PCIe cables                      Skymax Midwest Liquid DC
Acorn Nest X2G ready to ship                                                        Green shelf                     188




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Item                                                                       Location                            Qty
3 Pallets Ladder Racking                                                   8050 Clean New DC
CryptoSlayer (*122)                                                        Skymax Midwest Liquid DC
Approximately 550 HP common slot PSUs                                      8050 New Midwest Liquid DC
360 JCC2P A1B PCB                                                          8050 Northside Dock
Approximately 550 HP common slot breakout boards + PCIe cables             8050 New Midwest Liquid DC
750KvA 480/208 Transformer ST0320A59631-1-1                                8050 New Liquid Room
Nest Risers                                                                1-3-G                               2165
10 boxes new AlphaNovaTech heatsinks                                       8050 Production Assembly Room
(83) 8mm Feeders                                                           8050 Production SMT Room
Fan Stock Fk Host Box DF922B12V                                            3-4-G                               2,450
Vapor Phase-VP800 Serial 42                                                8050 Production SMT Room
Liebert 10 fan Drycooler                                                   8050 Old Outdoor Fixtures
Fan F-5010HH12B                                                            3-7-G                               465
qty 26 Miscellaneous 24x24 PCB Stencils                                    8050 Northside Dock
Intel Waterblock                                                           1-6-1                               160
FK back plates                                                             3-7-1                               992
Barb Assemblies for PEX Tubing- BRASS                                      3-6-1                               1129
Liebert 10 fan Drycooler                                                   8050 Old Outdoor Fixtures
Thermal Paste                                                              4-2-1                               24,400
JCC4P V2 Partials Serials C20S0000-13/44/29/30/06/48/55/56/07/08/09/36/37/28050 Northside Dock
Pallet of approx 50 misc single phase PDU's                                8050 Clean New DC
1 boxes used vinyl tubing and brass barbs                                  8050 Production Assembly Room
(1)-2 shelf juki feeder cart                                               8050 Production SMT Room
2U EPYC SERVER BLUE LIGHT (MUSHROOM HILL)                                  8050 Old Warehouse Network Closet
600 32gb BetterPC MicroSD                                                  8050 Production Assembly Room
FK Fans                                                                    3-7-1                               833
Crown Forklift Serial 9A125557 w/ 52 in forks                              8050 Northside Dock
FK/4P Double Brackets                                                      3-6-1                               3,993
USBCables                                                                  1-2-6                               858
750Watt POWER Supplies                                                     3-5-G                               61
8 48 port network switches                                                 8050 Midwest Air DC




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Item                                                              Location                            Qty
13P Waterblock                                                    1-6-1                               141
Approximately 81 48 port used network switches                    Skymax Midwest Liquid DC
Big Cat 3 (Lancool Custombuilt server)                            8050 New Server Closet
Big Cat 4 (Lancool Custombuilt server)                            8050 New Server Closet
Medium Cat (Lancool Custombuilt server)                           8050 New Server Closet
Big CAT SERVER (Lancool custom server)                            8050 Old Warehouse Network Closet
GKG G5 Serial 6L123067                                            8050 Production SMT Room
Cooling Fin/BCU Passive- USED                                     1-3-2                               98
1x Small Drycooler                                                Skymax Midwest Liquid DC
Fan B97 9BMB12P2K01                                               3-4-1                               182
8 boxes backplates                                                8050 Production Assembly Room
FSP60-15m FK heatsinks                                            3-7-1                               582
8 stationary and 13 wheeled and 1 short flat cart                 8050 Production SMT Room
13 boxes FK Fans                                                  8050 Production Assembly Room
14 boxes vinyl barbs                                              8050 Production Assembly Room
AF24FS (2)                                                        8050 Production SMT Room
GOULDS PUMP 25HP SERIAL 09S823Y134G1                              8050 Old Warehouse Area
Qty 17 4x8 Translucent Lexan                                      8050 Northside Dock
1 box chrome vinyl barbs                                          8050 Production Assembly Room
1 box chrome banjo bolts                                          8050 Production Assembly Room
Qty 4 Fixed Reel Carts                                            8050 Production SMT Room
Approximately 50 48 port used network switches                    8050 New Midwest Liquid DC
Power Supplies                                                    3-6-G                               99
Pallet of approx 23 single phase PDUs                             8050 Clean New DC
qty 88MM Feeder                                                   8050 Production SMT Room
FSP60-25m USED                                                    3-7-G                               458
90'power adaptor                                                  1-2-G                               436
Fan QFR1212HE-00ELR                                               3-4-G                               352
Intel Backplate                                                   1-6-1                               235
qty 93 Miscellaneous SMT Part Trays                               8050 Northside Dock
Active FK-USED(Heatsink)                                          4-5-2                               37




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Item                                                             Location                        Qty
FF24NS (4)                                                       8050 Production SMT Room
120mm Fan Guards -Black                                          3-5-1                           7,500
Thermal Pad for waterblock backplate                             4-1-1                           750
Laptop screw cases w/screws                                      1-1-1                           45
Box of 319 USB Cables                                            8050 Production Assembly Room
bin of banjo trays                                               8050 Production Assembly Room
bin of banjos for manifolds                                      8050 Production Assembly Room
3 open boxes of manifold banjos                                  8050 Production Assembly Room
Pump (Active)                                                    Skymax Midwest Liquid DC
LSH100 VFD serial 5507B220313- 50 AMP                            8050 Northside Dock
CF03HPR Feeders (2)                                              8050 Production SMT Room
FF16NS(4)                                                        8050 Production SMT Room
2X4 INCH INLINE INDUSTRIES BALL VALVES                           8050 Old Warehouse Area
Thermal Pads 4mm-Black                                           4-1-1                           520
FF12NS (13)                                                      8050 Production SMT Room
Bracket-single                                                   4-3-1                           2,147
20HP Stainless Pump Baldor                                       8050 Northside Dock
26 boxes (50pcs each) Manifold Sets                              8050 Production Assembly Room
Thermal Pads FK backplate                                        4-1-1                           540
Delrin Top for waterblock                                        1-6-1                           90
Switching power supply with Misc. cablesand connectors           3-5-G                           8
Passive Fk -USED (Heatsink)                                      4-5-2                           24
Better PC Clamps                                                 1-4-1                           11,500
Screws/ steal M2 5x5                                             4-3-1                           21,000
Nest Risers-USED                                                 1-3-G                           215
Heatsink for BCU 22mmx22mmx10mm #x001590197                      1-2-2                           355
Miscellaneous 4" PVC Piping valves/gauges (installed)            8050 Northside Dock
(34) 8MM Feeders                                                 8050 Production SMT Room
4 IBC TOTES 250 GAL                                              8050 Old Warehouse Area
13P Backplate                                                    1-6-1                           109
2 molex crimp applicators                                        8050 Production Assembly Room




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Item                                                            Location                        Qty
Back plate for motherboard                                      1-1-1                           225
Generac EM-SC Control Panel                                     8050 Northside Dock
2x IBC 250 Gal Totes                                            8050 Northside Dock
6 pin Female-2male 8Pin Y-splitter 18AWG                        3-3-G                           612
FK Active power cord (fans)                                     3-7-1                           728
72 JCCL2 A6 PCB                                                 8050 Northside Dock
Fan 120m QFR212HE-00                                            3-4-1                           36
Juki Nozzles-1 blue bin (15 cases)                              8050 Production Assembly Room
6 boxes 100' vinyl tube (unopened)                              8050 Production Assembly Room
6PDUS ON TEST STATIONS                                          8050 Old Warehouse Area
COUNTY-S Reel Counter                                           8050 Production Assembly Room
Miscellaneous Copper and Aluminum Raw Stock                     8050 Northside Dock
Air Compressor Air nozzle, blow off, and hose                   8050 Northside Dock
approx 100 SQRL Breakouts-Taped                                 8050 New Liquid Room
Box of C19 Power Cords/Extensions                               8050 Clean New DC
200 approx c13 power cables                                     8050 Midwest Air DC
Box of open manifold bars                                       8050 Production Assembly Room
bin of vinyl barbs (silver)                                     8050 Production Assembly Room
bin of vinyl barbs (pex)                                        8050 Production Assembly Room
10 ESD Mats                                                     8050 Production Assembly Room
1 tote ARM SOC boards-Janek                                     8050 Production Assembly Room
1 large bin + 1 box thermal paste packets                       8050 Production Assembly Room
3 small trays m2 m2.5 m3 spring screws                          8050 Production Assembly Room
Newest Juki Tray Handler                                        8050 Production SMT Room
RF4M AND JCC2N PROTO                                            8050 Old Warehouse Area
1 4" TCI CHECK VALVE                                            8050 Old Warehouse Area
Pump (Bad Seal                                                  Skymax Midwest Liquid DC
FSP60-25m New                                                   3-7-1                           54
1 box 90 degree power adapters (qty 457)                        8050 Production Assembly Room
FF24FS Feeder                                                   8050 Production SMT Room
24MM PEM Feeder                                                 8050 Production SMT Room




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Item                                                                              Location                        Qty
FF24FS Feedee                                                                     8050 Production SMT Room
FF24NS                                                                            8050 Production SMT Room
Cooling Fin/BCU Passive Rev.2 upgraded                                            1-3-2                           6
Thermal Pads 2.5mm -Black                                                         4-1-1                           150
Mitsubishi AC Server motor HC-RP153-s2                                            8050 Northside Dock
2x CF081PR Juki Feeders                                                           8050 Northside Dock
2x C8L1R Juki Feeder                                                              8050 Northside Dock
4x Juki Tray Feeders                                                              8050 Northside Dock
1 pallet 4 PDUs                                                                   8050 Clean New DC
1 RED PAKE 6600 PALLET JACK                                                       8050 Old Warehouse Area
4" STAINLESS CHECK VALVE (NEW)                                                    8050 Old Warehouse Area
4 PDUS 110-113                                                                    8050 Old Warehouse Area
Surface 1943 Serial 019174611266                                                  8050 Production SMT Room
Thermal Pads 3mm-Black                                                            4-1-1                           180
33/35 Air Heatsink                                                                3-6-1                           8
Menards Residential Pallet Racking (lt Brown)                                     8050 Northside Dock
Harmsco 1200FL Filter-110949                                                      8050 Northside Dock
SATA cables                                                                       1-1-1                           364
8MM Large Reel Feeder (3)                                                         8050 Production SMT Room
Pink Bin of Vinyl Tubing Assembled                                                8050 Production Assembly Room
FF16NS (1)                                                                        8050 Production SMT Room
FS16NS Feeder                                                                     8050 Production SMT Room
FF16NS (1)                                                                        8050 Production SMT Room
FF16NS (1)                                                                        8050 Production SMT Room
BCU/SQRL Risers                                                                   shipstation                     67
4 4" BUTTERFLY VAVLES (NO HANDLES)                                                8050 Old Warehouse Area
Box of Vinyl and Brass assembled                                                  8050 Production Assembly Room
1 plastic tub G1 quarter block offs medium                                        8050 Production Assembly Room
1 VU9P Reball Kit w. 3 stencils .6mm falls, solder wick and hand T12 Soldering sta8050 Production SMT Room
Xtronic Hot Air rework station (broken) 0120185040                                8050 Production SMT Room
Heat Conduction Adhesive EC0910905 (Expired)                                      4-2-1                           6




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Item                                                             Location                        Qty
Female Fan Cables-BCU                                            3-3-G                           138
Thermal Pads 2mm-Black                                           4-1-1                           90
Bitmain APW3++12-1600 switching power supply                     3-5-G                           2
GENERAC POWER SYSTEMS OF1304 CONTROL PANEL                       8050 Old Warehouse Area
G7200 NOCO Battery Chargers 2x                                   8050 Northside Dock
MX21SMF53-A6 Serial M20S000055-Damaged                           8050 Northside Dock
Boxes of Uline Shelf Vericals (44 aprox)                         8050 New Liquid Room
Tray of FK Fan Cables                                            8050 Production Assembly Room
tray of phosphate clamps                                         8050 Production Assembly Room
PowerBackplane                                                   3-5-G                           1
FK host box fan Guards 80mm chrome                               3-7-G                           1,205
12 square 50Amp Breakers 3 pull                                  8050 New Liquid Room
CF081ER Juki Feeder (qty 2)                                      8050 Production Assembly Room
Bitmain Power supply-small                                       3-5-G                           2
7" Touch Screens                                                 1-1-1                           4
HL-L2350 Brother Laser Printer                                   8050 Production SMT Room
6 pin female-2male 6pin Y-splitter Cable 18awg                   3-3-G                           164
Fan Extensions-4pin                                              4-4-1                           42
JCM35 J21S003138-No FPGA                                         8050 Northside Dock
FF44NS Juki Feeder                                               8050 Northside Dock
1x Adapter V7 Breakout                                           8050 Northside Dock
JCM35 J21S003821-No FPGA                                         8050 Northside Dock
JCM35 JS21003822-No FPGA                                         8050 Northside Dock
JCM35 J21S003823-No FPGA                                         8050 Northside Dock
DELL PC Optiplex 755 Serial H605ZF1 for Juki Systems             8050 Northside Dock
Miscellaneous 2" PVC Fittings                                    8050 New Liquid Room
approx 60 single and 3 pull breakers                             8050 New Liquid Room
6 bags spring screws                                             8050 Production Assembly Room
3 miscellaneous M2 M2.5 M3 spring screw bins                     8050 Production Assembly Room
FF12NS Feeder (2)                                                8050 Production SMT Room
PALLET MISC 8GA SOOW POWER CUT OFF                               8050 Old Warehouse Area




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Item                                                               Location                        Qty
PCI Back Plates                                                    3-5-1                           4
Porter Cable Small Vertical Band Saw 037454                        8050 Northside Dock
2JCMP8 Power Programmer                                            8050 Production Lab Room
Miscellaneous Brass Pex Fittings                                   8050 Northside Dock
2 weiss hand sheet metal crimps                                    8050 Production Assembly Room
Perfect Prime Digital Thermometer w/probes                         8050 Production SMT Room
Linksys 16 Port Switch                                             8050 Production SMT Room
Pallet 4" PVC Pipe Fittings and Valves and Water Filters           8050 Northside Dock
approx 54 single pull square breakers                              8050 New Liquid Room
Juki Bolt In Reel holder                                           8050 Production Assembly Room
open box of vinyl barbs                                            8050 Production Assembly Room
1 box misc brass barbs (open)                                      8050 Production Assembly Room
1 box open chrome manifold bars                                    8050 Production Assembly Room
1 dewalt toolkit w/hammers and misc hand tools                     8050 Production Assembly Room
Small Uline Rolling Cart                                           8050 Production Assembly Room
Zyxel GS1900-24                                                    8050 New Server Closet
Box and Pile of JC Clip on Fans                                    8050 Production SMT Room
1 tubster rolling cart                                             8050 Production SMT Room
4" 2 TO 1 STAINLESS WELDED T (LIEBERT)                             8050 Old Warehouse Area
Test Back Plates                                                   3-7-G                           3
Uline Cart                                                         8050 Production Assembly Room
1 short black wire rack                                            8050 Production Lab Room
1 blue uline cart                                                  8050 Production Lab Room
Black Rolling Cart Uline                                           8050 Production Assembly Room
1 small black rolling cart (Uline)                                 8050 Production Assembly Room
1 short black rolling cart                                         8050 Production SMT Room
Screw 2.5x4 Phil/Pan/zinc                                          4-2-1                           12,000
Wire Rack Shelving 12x36                                           8050 Northside Dock
6 Stainless Steel 1" Ball Valves                                   8050 Northside Dock
4"X5" ADAPTER- CARBON STEEL                                        8050 Old Warehouse Area
CF081PR Feeder                                                     8050 Production Assembly Room




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Item                                                             Location                        Qty
CF03HPR Feeder                                                   8050 Production Assembly Room
CF081PR Feeder (1)                                               8050 Production SMT Room
CF081E Feeder                                                    8050 Production SMT Room
Juki 14MM? Feeder                                                8050 Production SMT Room
CF081E Feeder                                                    8050 Production SMT Room
8MM Large Reel Feeder                                            8050 Production SMT Room
keyboards                                                        1-1-1                           5
Schlage Light Commercial Keypad Leverlock                        8050 Northside Dock
Waterblocks 33/35                                                1-4-G                           4
23 qty 12V Unbranded Power Supplies- Unknown Condition           8050 Northside Dock
6 pin Female-8 pin Male 18 AWG                                   3-3-G                           64
Acorn Fin Heatsink                                               4-5-1                           20
qty 4 Box-All AIDETEK Parts Boxes                                8050 Northside Dock
JCC2PR-A1 Serial G20S000009- condition unknown                   8050 Northside Dock
FK Serial F21S003305/3304 Back Only Panel                        8050 Northside Dock
bag of phosphate clamps                                          8050 Production Assembly Room
open box of pex barbs                                            8050 Production Assembly Room
container g 1/4 block offs                                       8050 Production Assembly Room
Small container M3 Screws                                        8050 Production Assembly Room
5 bags o rings                                                   8050 Production Assembly Room
3 bags FK spring screws                                          8050 Production Assembly Room
FF12NS Feeder                                                    8050 Production SMT Room
FF12NS (1)                                                       8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room
FF12NS                                                           8050 Production SMT Room




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Item                                                               Location                        Qty
misc soldering supplies, soldering tips and cleaners               8050 Production SMT Room
3 boxes broken waterblocks                                         8050 Production SMT Room
3DK-1221 Brother Labels                                            8050 Production Assembly Room
Silicon Labs Clock Builder/Programmer                              8050 Northside Dock
2 black esd trash can                                              8050 Production Lab Room
1 dewalt hand screwdriver with charger                             8050 Production Assembly Room
Box Sample 4xQSFP                                                  8050 Northside Dock
Box of Uline Static Shield bags large (S-5301BX) S-13005           8050 Production Assembly Room
Thermal Pads 1.5mm- Black                                          4-1-1                           40
1x DELL VGA Monitor- for Juki- LCD11027-B                          8050 Northside Dock
1 Pluggable USB Microscope                                         8050 Production Lab Room
1 tray 1.5mm o rings                                               8050 Production Assembly Room
1 tray 2mm o rings                                                 8050 Production Assembly Room
1 small container spring screws                                    8050 Production Assembly Room
2 bags 1 tray waterblocks hex bolts                                8050 Production SMT Room
miscellaneous Risers                                               4-4-1                           25
PEX Crimping too                                                   8050 Northside Dock
Bittman Power Supply for CVP                                       3-5-G                           20
Screw 2m 4x4 Phil/Pan m/s Zinc                                     4-2-1                           6,000
3 USB Scanners                                                     8050 Production Lab Room
FK screws                                                          3-7-1                           5,400
Cobalt Angle Air Die Grinder                                       8050 Northside Dock
Miscellanous Box HEX Bolts                                         8050 Northside Dock
Box of Miscellaneous Shelf Feet                                    8050 Northside Dock
SQRL Breakout and Riser                                            8050 Northside Dock
AMScope Microscope Lenses                                          8050 Northside Dock
Box of PVC Cement                                                  8050 New Liquid Room
2x approx 10' 1.5" Blue Sealtite                                   8050 New Liquid Room
3 sets keyboard mice                                               8050 Production Lab Room
2 bins O rings 1.5 and 2 mm                                        8050 Production Assembly Room
cushioned floor mat                                                8050 Production Assembly Room




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Item                                                              Location                        Qty
small esd floor mat                                               8050 Production Assembly Room
5 miscellaneous hand tools (screw drivers, pliers)                8050 Production Assembly Room
1 small tray phosphate clamps                                     8050 Production Assembly Room
6 sets milwaukee #1 phillips bits                                 8050 Production Assembly Room
1 box scrap delrin waterblock tops aproximately 50                8050 Production Assembly Room
small bin silver spring clamps                                    8050 Production Assembly Room
LG Monitor 805USL852637 Model 27UD59-D                            8050 Production SMT Room
air hose and nozzle (new)                                         8050 Production SMT Room
1 TERRA-D5100 USB SCANNER                                         8050 Old Warehouse Area
1x HP1200W supply                                                 8050 Northside Dock
small ESD Trash Can- Black                                        8050 Production Assembly Room
2 bags ESD gloves                                                 8050 Production Assembly Room
ESD Tweezer kit                                                   8050 Production Assembly Room
1 xtronics flourescent light                                      8050 Production Assembly Room
6 pin Male-2 Female 6 pin Y -splitter 16 AWG                      3-3-G                           22
2 USB Scanner                                                     8050 Production Lab Room
Brother QL Label Printer                                          8050 Production Assembly Room
brother PT-400 label maker                                        8050 Production SMT Room
3"x4" Stainless Steel Adaptor- Bolt on                            8050 Northside Dock
6 pin-8 pin LONG 16AWG                                            3-3-G                           25
Miscellaneous Power (3x) Cables                                   8050 Northside Dock
Uline 5' Power Protector Qty 2                                    8050 Northside Dock
Central Pnumatic Air Nibbler                                      8050 Northside Dock
1 bag ESD jackets                                                 8050 Production Assembly Room
1 DLINK DGS-108 8 PORT SWITCH                                     8050 Old Warehouse Area
SATA 90'                                                          1-1-1                           21
Brighton Stainless Steel X Cap screws (3 boxes)                   8050 Northside Dock
2 plastic bins                                                    8050 Production Assembly Room
10 rolls colored dots                                             8050 Production Assembly Room
5 rolls masking tape                                              8050 Production Assembly Room
8MM embossed large reel                                           8050 Production SMT Room




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Item                                                                   Location                        Qty
8mm Embossed Feeder                                                    8050 Production SMT Room
1 48" dust mop                                                         8050 Production SMT Room
1 uline broom and dust pan                                             8050 Production SMT Room
Mops                                                                   8050 Old Warehouse Area
USB Scanner D5100                                                      8050 Northside Dock
3 packs sharpies                                                       8050 Production Assembly Room
1 bag Kimtech W4 Wipes                                                 8050 Production Assembly Room
1 package Kimtech wipes                                                8050 Production Assembly Room
1 package Kimtech Delicate wipes                                       8050 Production Assembly Room
PEX Angle Guides                                                       8050 Northside Dock
Miscellaneous Keyboard                                                 8050 Northside Dock
20 AAA batteries                                                       8050 Production Assembly Room
small phosphate spring clamp                                           8050 Production Assembly Room
Broken Black Box Fan                                                   8050 Production SMT Room
Power supply pads                                                      1-2-2                           92
3 packages cotton rounds                                               8050 Production Assembly Room
1 package Cholorox wipes                                               8050 Production Assembly Room
Thermal Pads 1mm-Gray                                                  4-2-1
50 Empty Xilinx boxes                                                  8050 Northside Dock
Cascade Cart N Clamp Serial PTI546899-18 Forklift Attachment           8050 New Liquid Room
2 Pallets Strut                                                        8050 Clean New DC
20 Pallets Raised Floor                                                8050 Clean New DC
7 Pallets Floor/Racking Hardware                                       8050 Clean New DC
Forest Kitten -Passive Heatsink                                        4-5-2                           0
Backplate 33/35                                                        1-5-1                           0
Manifolds                                                              1-5-G                           0
8pin-8pin 1ft 18AWG                                                    3-3-G                           0
6 pin-8 pin LONG 18AWG                                                 3-3-G                           0
Forest Kitten -Active Heatsink                                         4-4-2                           0
SQRL Breakout Boards                                                   1-5-1                           0




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Item                      Location                 Qty on hand
PEX8780-AB80BI G                                           459
IFLR2727EZER72NM01        8050 Component Storage         50000
XC7A100T-L2FGG484E        8050 Component Storage           414
SRP2510A-R22M             REEL BOX 6                    141000
PEX8733-CA80BC G                                           240
TLC59116FIRHBR            8050 Component Storage          8683
ACSA02-41SURKWA-F01       8050 Component Storage          6516
MLC1240-901MLC            BIN A10                         7000
S25FL256SAGBHV200         8050 Component Storage          2623
F950J107MPAAQ2            BIN C01                        27000
DFE201610P-1R0M=P2        BIN A14                        18230
PCA9555APW118             REEL BOX A                      5621
PCA9555APW,118            8050 Component Storage          5131
CSD875885                 REEL BOX D                      2500
XC7A200T-3FBG484E                                           20
TLNS227M004R3000          8050 Component Storage          2336
APXG160ARA561MHA0G        8050 Component Storage          2845
XC7A100T-L2FGG484E                                          16
CSD87588N                 8050 Component Storage          1200
XC7A200T-3FBG484E         8050 Component Storage          1040
XCKU5P-L1SFVB784I         8050 Component Storage           115
XC7A200T-L2FBG484E        8050 Component Storage           281
ACORN 215+ REV A4         BOTTOM SHELF                     184
ACORN 215 A4              BOTTOM SHELF                      70
ACORN 101 REV A4          BOTTOM SHELF                      64
PEX8733-CA80BC G          8050 Component Storage          4550
GSB4111312HR              BOTTOM L SHELF                  5448
ERA1ARW6651C              BIN A24                        15950
20021121-00010C4LF        8050 Component Storage          6337
DF52-20S-0.8H             8050 Component Storage          2007
DF52-20S-0.8H(21)         REEL BOX D                      5289
DF52-2832PCF              REEL BOX D                     10000
OZCG0050AF2C              8050 Component Storage         14000
78720002                  REEL BOX D                     15000
MT25QU256ABA8E12-SIT      8050 Component Storage          2018
IHLP4040DZERR19M01        8050 Component Storage          8500
LTC4352CDD#TRPBF          8050 Component Storage          8001
IS43TR16512BL-125KBLI     SHELF B                         9153
MT25QU512ABB8E12-0SIT     SHELF B                        22500
2R5TPE470M7               8050 Component Storage         95990
MT25QU512ABB8E12          8050 Component Storage          5348
LTC7150SIY#PBF            8050 Component Storage          6782




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Item                           Location               Qty on hand
LTC3636EUFD#PBF                8050 Component Storage        6510
SEAF-40-05.0.S-10-2-A-K-TR     8050 Component Storage        2750
TDA214175                      8050 In Production           10000
IRPS5401MXI03TRP               8050 In Production            6000
MT25QU512ABB8E12               8050 In Production            2500
STM32F746BET6                  8050 Component Storage        1190
TDA21470AUMA1                  8050 In Production            5000
IS43TR16256AL-125KBL           8050 Component Storage        2446
NB6N14SMNR2G                   8050 Component Storage        2832
TDA21470AUMA1                  8050 on Feeders               4500
MT40A512M16JY-083E             8050 Component Storage        1368
16SVPF180M                     8050 Component Storage       32284
                   781715006   8050 Component Storage       34913
45971-4115                     8050 In Production            1400
GRM21BC80G476ME15L             8050 Component Storage      120000
DSC1123DI2-200.0000T           BIN A23                       6000
STM32F756BET6                  8050 Component Storage         720
MAX6101EUR+T                   8050 In Production           19320
ZRB18AR60J476ME01L             BIN A17                      48000
SM3ZS067U410AMR1000            8050 Component Storage       11560
STM32F302R8T6                  8050 Component Storage        3504
SRP6030CA-R18M                 8050 In Production           19197
SRP6030CA-R18M                 8050 Component Storage       19019
SI53340-B-GM                   8050 In Production            5555
MCP9804-E/MC                   8050 In Production            5606
BSO301SP                       8050 Component Storage        3500
CL21A226MOCLRNC                8050 Component Storage      120000
PA0512.700NLT                  8050 In Production            8077
T520B337M2R5ATE045             8050 Component Storage       18000
C1005X5R1A104KT000F            8050 Component Storage      120000
SRP4020TA-1R5M                 8050 In Production           12000
CL32B226KAJNFNE                8050 In Production           22000
GRM155C81E105KE11D             8050 In Production          100000
LM5050MK-1/NOPB                BIN B09                       4990
9774070151R                    8050 Component Storage        7253
SI53305-B-GM                   8050 Component Storage        1325
AI-1027-TWT-5V-R               8050 Component Storage        2919
BLM03HG601SN1D                 8050 Component Storage       41342
IRPS5401MX103TRP               8050 on Feeders               1000
GRT155R61C474KE10D             8050 Component Storage       34520
ASDMB-125.000MHZ-LY-T          8050 In Production            1925
HCB0750-700L                   8050 Component Storage        2730




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Item                          Location               Qty on hand
9774025151R                   8050 Component Storage        5495
IR35215MTRPBF                 8050 on Feeders               1200
LM27402SQ/NOPB                BIN B03                       2700
ASDMB-48.000MHZ-LC-T          8050 Component Storage        2982
TPS40400RHLR                  8050 Component Storage        1470
GRM32ER60J107ME20L            8050 on Feeders               8000
SMTSO-M1.6-2ET                8050 Component Storage        9951
93LC56BT-1/OT                 8050 Component Storage       15000
                74438336010   8050 Component Storage        3000
457320001                     MIDDLE SHELF                  3657
150060GS75000                 8050 Component Storage       28753
C0603X5R6R3-476MNE            8050 Component Storage       60000
CL10A226MO7JZNC               8050 Component Storage       19829
MAX1589AETT100+T              BIN A08                       2500
AK2DAF1-100.00000T            8050 Component Storage         866
CSNL2512FT2L00                8050 Component Storage        8236
626L10003G3T                  8050 Component Storage         841
TPS62020DRCR                  8050 Component Storage        3224
CL05A474KP5NNNC               REEL BOX 4                  200000
MCP4552T-503E/MF              8050 In Production            3000
SN74LV1T08DCKR                BIN A11                      18000
GRM033C81A105ME05D            8050 on Feeders              27000
F950J107MPAAQ2                8050 Component Storage        8374
CM3440Z171R-10                8050 Component Storage        2858
ASDMPLV-100.000MHZ-LR-T3      8050 In Production             640
25SVPF330M                    8050 In Production            3000
ABM3-8.000MHZ-D2Y-T           8050 Component Storage        3500
                  470531000   8050 Component Storage        4100
DF13-3P-1.25DSA               8050 Component Storage       12937
ESD224DQAR                    8050 Component Storage       13751
104031-0811                   8050 Component Storage        2000
CAT25512VI-GT3                REEL BOX D                    3000
DSC1103DL2-156.2500           8050 Component Storage         868
                  781715006   8050 Component Storage        5225
10118193-0001LF               8050 Component Storage        8548
STM32F765ZIT6                 8050 Component Storage         240
781720410                     REEL BOX A                   60000
12103C226KAT2A                8050 Component Storage        2243
CHS-01TA                      8050 In Production            3000
ABM3-8.000MHZ-D2Y-T           8050 In Production            2841
CL05A106MP5NUNC               8050 In Production           40000
CRCW0201249RFNED              8050 In Production           20000




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Item                         Location               Qty on hand
LD39050PU25R                 8050 Component Storage        3981
C0603X6S1A224K030BC          8050 In Production           44148
CL31B226KQHNNWE              BIN A13                      12000
ASDMPLV-200.000MHZ-LR-T      8050 In Production             531
CL21B106KOQNNNE              8050 Component Storage       49868
                 255308430   8050 Component Storage         480
T521T336M016ATE050           8050 Component Storage        2000
AI-1027-TWT-3V-R             8050 Component Storage        1050
UCLAMP1211T.TCT              8050 Component Storage        6000
SI5345A-D-GM                 8050 Component Storage          75
DSC1123DI2-156.2500          8050 Component Storage         735
422001 BK005                 8050 Component Storage         100
CM5441Z101B-10               8050 Component Storage        1166
ACSA02-41SURKWA-F01          8050 In Production            1141
HCB0750-700L2                8050 on Feeders                900
GRM155R60J475ME47D           8050 Component Storage      100290
SN74LVC1G3157DCKR            8050 Component Storage       20000
CL05B224K05NNNC              8050 Component Storage       85191
2R5TPE470M7                  8050 on Feeders               2500
LTC3636EUFD#PBF              8050 In Production             219
CL31B226KQHNNWE              8050 Component Storage        9299
GPU-8P-V                     8050 Component Storage        3000
GPU-8P-RA                    8050 Component Storage        3000
MAX34406TETG+                8050 Component Storage         680
C0402C104K9RAC7867           REEL BOX 8                  120190
24AA64T-I/MC                 8050 Component Storage        2500
741X083471JP                 BIN B06                      40000
C6908CS6-1TRMPBF             BIN A06                        520
INA381A2IDSGR                8050 Component Storage        6000
                      3522   8050 Component Storage        9250
24AA04T-I/MC                 8050 Component Storage        3680
LAN8742A-CZ                  8050 Component Storage        1040
7M48072002                   8050 Component Storage        1394
JXD2-0015NL                  8050 Component Storage         200
ERJ2RKF3001X                 BIN A08                      50000
CAT25512VI-GT3               8050 Component Storage        1474
ABM10-167-12.000MHZ-T3       8050 Component Storage        2995
CGB2A1X5R1C474K033BC         BIN A13                      29000
IRPS5401MTRPBF               8050 In Production             273
TPS51206DSQR                 8050 In Production            2865
GRM1555C1H220JA01D           8050 In Production           10000
LTC6908CS6-1#TRMPBF          BIN A02                        476




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Item                         Location               Qty on hand
20021111-00008T4LF           8050 Component Storage        3329
TCA9406YZPR                  8050 on Feeders               2300
                 878321420   8050 Component Storage        1210
C1005X7R1C104K050BC          8050 Component Storage       82000
CL05A106MP5NUNC              8050 Component Storage       20000
                   8500113   8050 Component Storage        5000
9774070151R                  8050 In Production            1350
GRM21BC80G476ME15L           8050 In Production            9347
150060RS75000                8050 Component Storage        8010
TCA9406YZPR                  8050 Component Storage        2201
IHLP2020BZER1R0M01           REEL BOX A                    2000
SRP4020TA-3R3M               8050 on Feeders               2000
SM3ZS067U410AMR1000          8050 In Production            1000
LTC4413EDD#TRPBF             8050 Component Storage         200
F950J107MPAAQ2               8050 In Production            2980
ERA-1ARC103                  8050 Component Storage       12321
7M48072002                   8050 on Feeders               1015
RMCF0402FT340KTR             8050 on Feeders               7000
SRN4018-100M                 8050 Component Storage        3875
CL05B104K05NNNC              REEL BOX 8                  140000
NTTFS4C06NTWG                8050 Component Storage        2000
                 781715006   8050 In Production            2000
SN74AUP1T34DRYR              8050 on Feeders               3000
UCL1C102MNL1GS               8050 Component Storage        2443
BLM31SN500SN1L               8050 Component Storage        5984
MSS1P6-M3/89A                BIN A08                       9000
0287040.PXCN                 8050 Component Storage        4071
SN74AVC4T245RSVR             8050 on Feeders               1500
NR5040T4R7N                  8050 Component Storage        3000
0603YC105KAT2A               8050 Component Storage       16653
BLM03HG601SN1D               8050 on Feeders               6000
SRP4020TA-1R5M               8050 on Feeders               1500
APHHS1005CGCK                8050 In Production            8000
ASDMPLV-200.000MHZ-LR-T      8050 Component Storage         200
150040RS73240                8050 In Production            3381
CL21B106KOQNNNE              8050 In Production           18656
GRPB031VWVN-RC               8050 Component Storage        5000
TUSB2046BIRHBR               8050 Component Storage         300
TPS82085SILT                 BIN A21                        249
CL05B224K05NNNC              REEL BOX 8                   32950
RCL12250000Z0EG              8050 on Feeders               1500
AON7400A                     8050 Component Storage        3990




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Item                         Location               Qty on hand
CSR2512B0R004F               8050 Component Storage        2250
C1005X6S1C105K050BC          8050 on Feeders              12690
CHS-01TA                     8050 on Feeders                800
GRM155R61C225KE11D           8050 In Production           10000
02013A220JAT2A               8050 Component Storage       10653
CL05B103JA5NNNC              BIN A21                     140000
TL3315NF160Q                 8050 Component Storage        5849
CL32B226KAJNFNE              8050 Component Storage        1949
CL10B475KQ8NQNC              BIN B07                      16000
LP5907MFX-1.8/NOPB           8050 on Feeders               2500
GRM033R61C224KE14D           8050 In Production           62014
150040VS73240                8050 on Feeders               2500
SN74AVC4T245RSVR             8050 In Production             928
CRM2512-JW-1R0ELF            8050 Component Storage        4000
GSB4111312HR                 8050 Component Storage         212
TL3315NF160Q                 REEL BOX D                    5000
BLM31SN500SZ1L               8050 Component Storage        3000
BKP1005HS121-T               8050 Component Storage       43340
                 757830126   8050 In Production              50
                 781710002   8050 Component Storage        2355
C1005X5R1E105K050BC          8050 In Production           34140
9774070151R                  8050 on Feeders                576
EMK105ABJ225KV-F             8050 In Production           10000
BLM15PX330SN1D               8050 Component Storage       10000
74LVC1T45GW,125              8050 Component Storage        2964
9774070243R                  8050 Component Storage         800
MAX34406TETG+                8050 In Production             200
MAX34406TETG+                8050 on Feeders                200
                 797581010   8050 Component Storage         600
0685P9400-01                 8050 Component Storage         496
150040VS73240                8050 In Production            2030
TMP103EYFFR                  8050 Component Storage         492
AMK063AC6105KP-F             8050 Component Storage        6800
GRM033R60G474ME90D           8050 In Production           15000
RMCF0402FT2K40               8050 on Feeders               3000
741X083472JP                 8050 Component Storage       27561
DMN5L06K-7                   8050 Component Storage        8001
GRM155R71C104KA88J           8050 In Production          100000
ERJ1GNF6651C                 BIN B05                      15000
HR911105A                    8050 Component Storage         604
DSC1103DL2-156.2500          8050 In Production             130
MAKK2016T1ROM                8050 In Production            2939




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Item                      Location               Qty on hand
MAMK2520T3R3M             8050 In Production             3000
TPS8268120SIPR            8050 Component Storage          214
CSD13201W10               8050 on Feeders               2000
L829-1J1T-43              8050 In Production               50
RC1005F472CS              BIN A05                      50000
9774070243R               8050 In Production              601
CL05A106MP5NUNC           8050 on Feeders               6,000
GRM155C1H220GA01D         BIN B08                      10000
CL10B475KQ8NQNC           8050 Component Storage        8680
CGA2B3X5R1A224M050BB      8050 Component Storage       12807
RMCF0201FT11K0            8050 In Production           80066
C0603X5R0J224K030BB       8050 Component Storage       10329
TL3340AF160QG             8050 Component Storage          610
CL05B104KO3LNNC           8050 Component Storage        5719
CRCW02011K00FNED          8050 Component Storage       30000
0ZCG0050AF2C              8050 Component Storage         3846
ADC128D818CIMT/NOPB       8050 Component Storage           35
PI6CB18401ZHIEX           8050 In Production              100
TMP103EYFFT               8050 on Feeders                 100
MHQ0603P20NJT000          8050 Component Storage        1000
RB521S-30DP-TP            8050 on Feeders               4915
ERJ-2GEJ2R2X              BIN A02                      82500
Z101B-10                  8050 Component Storage          116
GRM21BC80G476ME15L        8050 on Feeders               2000
CGA2B3X5R1A224M050BB      REEL BOX 7                   10006
CL05104KO5NNNC            8050 In Production           41579
RMCF0402FT10K0            REEL BOX 7                  110000
DF52-20P-0.8C             BIN A02                         500
0402L035SLKR              8050 Component Storage          100
KRL1220E-M-R015-F-T5      8050 on Feeders               2000
RJHSE-3381                8050 Component Storage          105
BLM15PX330SN1D            8050 In Production             4620
CL03A104KQ3NNNC           8050 Component Storage       50670
93LC56BT-I/OT             8050 In Production             1013
LMK063BJ224MP-F           8050 In Production           15000
ERJ-2RKF1501X             BIN A13                      60000
0603YC105KAT2A            BIN B02                        4000
GRM155R71C104KA88J        8050 on Feeders              50000
FBMJ1608HS280NTR          8050 In Production            8308
MCP4552T-503E/MF          8050 Component Storage          192
CL05B103JA5NNNC           8050 Component Storage       46198
CRCW02014K02FNED          8050 on Feeders                6000




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Item                         Location               Qty on hand
CR0201-20W-2491FT            8050 In Production           75000
AC0201FR-076K65L             BIN A02                      20000
FSM4JSMATR                   8050 Component Storage        1300
GRM155R60J475ME47D           8050 In Production           10000
                1718560002   8050 Component Storage        1000
DSF01S30SL,L3F               8050 on Feeders               4000
C1005X5R1A104K050BA          8050 Component Storage       18213
IHLP2020CZERR22M11           8050 on Feeders                300
CL21C122JBFNNNE              8050 Component Storage        4372
10029449-111rlf              8050 In Production             200
ERJ-1GNF3012C                8050 In Production           20000
FSM4JSMATR                   8050 In Production            1200
EXB28V471JX                  BIN A14                      10000
B3S-1000P                    8050 Component Storage         300
GRM155R61A224KE19D           BIN A21                       9189
BLM31SN500SN1L               8050 In Production             920
                  22232031   8050 Component Storage        2000
RC0402JR-070RL               8050 In Production           10000
RMCF0402FT20K0               8050 In Production           10000
CL21A226MOCLRNC              8050 on Feeders               2000
C1005X7R1C104K050BC          BIN A11                      10000
TNPW04028K76BEED             BIN A24                       1100
C2012X5R1A476M125AC          8050 Component Storage         200
JMK212BBJ476MG-T             8050 Component Storage        1000
M20-9990246                  BIN A05                       2000
GRM155C81E105KE11D           8050 on Feeders               2000
CR0603-10W-24R9FT            8050 In Production            5000
ERJ-6BWFR025V                8050 In Production             591
SN74LVC1G02DCKR              BIN A11                       3000
GRM0335C1E8R0CA01D           8050 Component Storage       35886
22-23-2031                   BIN B01                       1000
RJK005N03FRAT146             BIN A01                        994
CRCW020130K1FKED             8050 on Feeders               4000
GRM188R60J226MEAOD           8050 on Feeders               2000
RMCF0210FT4K02               8050 on Feeders               2000
ERJ-1GNF1202C                8050 Component Storage       15000
ERJ-1GNJ2R0C                 8050 In Production           28073
GRM033R61C224KE14D           8050 on Feeders              12000
ERJ2RKF49R9X                 BIN A14                      30000
CM2545X171R-10               8050 on Feeders                100
CSD17575Q3                   8050 Component Storage         100
CL05B473KO5VPNC              8050 Component Storage       13902




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Item                      Location               Qty on hand
M20-9990246               8050 Component Storage        1500
CRGCQ0402F39K             8050 Component Storage        8332
SMLP34RGB2W3              8050 on Feeders                200
CRCW0402470RFKEDC         BI A08                       20000
C1005X7R1C104K050BC       8050 on Feeders               6000
DF522832PF157128          BIN A02                        100
BKP0603HM121-T            8050 In Production            1920
NRC02F1202TRF             8050 Component Storage        7996
GRM033R71A103KA01D        8050 In Production           19598
PMR10EZPFV3LOO            BIN A06                       5000
ERJ2RKF2201X              BIIN A14                     20000
RC0402FR-0749R9L          8050 Component Storage       30000
RC0402FR-0786R6L          BIN A01                      30000
BKP1005HS121-T            8050 on Feeders               6000
ECS-250-10-37B-CTN-TR     8050 In Production             200
LP5907MFX-1.8/NOPB        8050 Component Storage         275
RMCF0603FT402R            8050 In Production           30000
ERA-1AEB103C              8050 Component Storage         665
RC1005J000CS              8050 on Feeders               9000
ERJ-1GNF4700C             8050 on Feeders               8000
XEL5050-471MEC            8050 Component Storage          50
CRCW02012K49FKED          8050 on Feeders               2000
CRGQ0402F15K              BIN A02                       5000
741x083472JP              BIN B06                       3700
GRM0335C1E220JA01D        8050 Component Storage       15000
CA064C104M4RAC7800        8050 Component Storage         220
AC0402FR-0756KL           8050 Component Storage       15944
GRM32ER60J107ME20K        8050 Component Storage         100
RC0402FR-076K19L          8050 Component Storage       20000
RMCF0402FT470R            8050 Component Storage       20200
CRGCQ0402F6K8             8050 Component Storage       13708
04025A470JAT2A            8050 on Feeders               3000
CRCW0402470RFKEDC         8050 Component Storage        9051
RMCF0402FT42R2            BIN A06                      20000
GCM1555C1H330JA16D        8050 Component Storage        1234
RMCF0603FT402R            8050 Component Storage       20000
RT2402B7TR7               BIN A01                       9351
GRM188R60J226MEA0D        8050 In Production             721
AC0201FR-0712KL           8050 Component Storage        4114
RMCF0201FT2K87            8050 In Production           10203
RMCF0201FT49R9            8050 Component Storage       10000
GCM155R71H122KA37D        8050 Component Storage        4821




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Item                        Location               Qty on hand
500R07N101JV4T              8050 Component Storage        1442
CL05B222KB5NNNC             8050 Component Storage        4915
C1005X5R1E105K050BC         8050 Component Storage        2500
C0805C102DRAC7800           8050 Component Storage        2500
CRCW060324R9FKEA            8050 In Production            5000
ERJ2RKF4021X                BIN A14                      10000
ERJ2RKF1272X                BIN B04                      10000
ERJ-2RKF1000X               BIN B08                      10000
ERJ-2RKF1201X               BIN B08                      10000
GRM188R60J476ME15D          8050 In Production             200
GRM033R61C224KE4D           8050 Component Storage        2584
CRGCQ0402F330R              8050 Component Storage       10393
ERJ-1GNJ2R0C                8050 on Feeders               8000
CL05C471JB5NNNC             8050 Component Storage        3439
APXG160A561MHA0G            MIDDLE SHELF                  2207
CRCW02011K00FNED            8050 In Production            3338
GRM033R60J104KE19D          8050 on Feeders               5000
RMCF0201FT1K00              8050 on Feeders               2100
RC0201FR-074K7L             8050 Component Storage        4950
CRCW060324R9FKEA            8050 on Feeders               4000
CRCW020159K0FKED            8050 on Feeders               1000
CL05B562KBNNNC              REEL BOX 2                    2500
RMCF0402FT100R              8050 Component Storage       12812
RMCF0201FT2K20              8050 In Production            6179
CC0402KRX7R8BB472           8050 Component Storage       10000
150040RS73240               8050 on Feeders                100
ERJ-M1WTF4M0U               8050 on Feeders                100
RC0402FR-071RL              8050 In Production            6720
TPS22990DMLT                8050 Component Storage        3042
45971-4115                  8050 Component Storage           2
RMCF0201FT240R              8050 In Production            6000
RMCF0201FT240R              8050 on Feeders               6000
                798550667   8050 Component Storage        1549
CL10A226M07JZNC             8050 on Feeders               1500
RMCF0402FT499R              8050 Component Storage       10000
RMCF0402FT2K49              8050 Component Storage       10000
APHHS1005CGCK               8050 on Feeders                200
M24C64-WMN6P                8050 Component Storage         100
RMCF0402FT22K6              8050 In Production            1934
RK73H1HTTCM2490F            8050 Component Storage       13477
GRM0335C1H160JA01D          8050 Component Storage        5000
RMCF0201FT10K0              8050 on Feeders               5000




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Item                       Location               Qty on hand
GRM188R60J476ME15D         8050 on Feeders                100
RMCF0402FT37K4             8050 on Feeders               8000
RMCF0402DRE071KL           8050 Component Storage        6000
GRM1555C1H8R0DA01D         8050 on Feeders               2000
RMCF0402FT22K6             8050 Component Storage        1520
RC0603FR-0724R9L           8050 on Feeders               6000
RMCF0201FT13K0             8050 In Production            4605
RMCF0201FT100R             8050 In Production            4000
RK73H1HTTC4700F            8050 on Feeders               1350
RMCF0201FT5K49             8050 In Production            3947
CRGCQ0402F10R              8050 Component Storage        4649
GRM21BR60J107ME15L         8050 Component Storage          20
RC0402FR-071RL             8050 on Feeders               4000
RMCF0201FT13K0             8050 on Feeders               4000
RMCF0201FT2K20             8050 Component Storage        2988
RMCF0402FT499R             8050 In Production            5929
RMCF0402FT267K             8050 Component Storage        5920
UCL1C102MNL1GS             8050 on Feeders                 30
RC0402FR-0720KL            8050 Component Storage        4980
RC0402FR-074K99L           8050 Component Storage        4900
RMCF0201FT10K0             8050 In Production            3000
RMCF0201FT11K0             8050 on Feeders               3000
RMCF0402FT30R1             8050 In Production            5000
RMCF0402FT2K00             8050 on Feeders               5000
CRGCQ0402F15K              8050 Component Storage        3333
RC0402FR-0733K2L           8050 on Feeders               4000
SI53305-B-GMR              REEL BOX A                       2
CGA2B3X5R1A224MB           8050 Component Storage         371
RF0402FR-0730RL            8050 Component Storage        4250
RMCF0402FT49K9             8050 on Feeders               4000
RMCF0402FT130K             8050 on Feeders               4000
RMCF0603FT402R             8050 on Feeders               4000
ERJ2GEJ472X                BIN A01                       2673
GRM033R71A103KA01D         8050 on Feeders               2000
RMCF0201FT12K1             8050 on Feeders               2000
RMCF0402FT2K87             8050 In Production            3440
C0402C222K5RACTU           8050 Component Storage         822
RMCF0402FT240R             8050 on Feeders               3000
RMCF0402FT10K2             8050 on Feeders               3000
MT41K512M16HA-125:A        8050 Component Storage        4304
CL03B152KP3NNNNC           8050 Component Storage        1000
KRL1220E-M-R015-F-T5       8050 Component Storage          50




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Item                       Location               Qty on hand
CL03B152KP3NNNNC           8050 In Production            3958
RC0402FR-07100RL           8050 on Feeders               2000
RMCF0201FT2K49             8050 In Production            1142
RMCF0402FT10K0             8050 on Feeders               2000
ST1026MP41W693HC           REEL BOX D                      10
RMCF0201FT100R             8050 on Feeders               1000
GCM155R71H122KA37D         BIN A24                        376
ASDMB-125.000MHZ-LY-T      8050 Component Storage           1
RT2402B7TR7                8050 Component Storage         586
FBMJ1608HS280NTR           8050 on Feeders                100
RMCF0201FT5K49             8050 on Feeders                500
501-001582R7141            8050 Component Storage          10
RC0402FR-07150RL           8050 Component Storage         350
GRM033R71A103KA01D         8050 Component Storage         125
ST5126MP451693SC           8050 Component Storage          10
GRM21BR060J107ME15L        8050 on Feeders                 25
RMCF0201FT2K87             8050 on Feeders                 50
RMCF0201FT12K1             8050 In Production              28




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                                        Schedule 1.1(b)

                                      Assigned Contracts

  Hosted customer contract with Purchaser.

  Lease Agreement for 8050 Freedom Avenue with One Haines Company, 120-month term.
  Signed May 5, 2020.

  Master Energy Purchase Agreement, dated October 20, 2020, between SQRL and AEP Energy,
  Inc./Ohio Power.

  Master Energy Purchase Agreement, dated November 18, 2020, between SQRL and AEP
  Energy, Inc./Ohio Power.




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                                        Schedule 1.2(h)

                                       Insurance Claims

  Cincinnati Insurance Company  Date of Loss: July 15, 2021. Fire damage to building and
  contents at 8050 Freedom Avenue building. Unknown value of loss.




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                                          Schedule 1.2(g)

                                   Excluded Causes of Action


  SQRL v. Fleur de Lis, Case No. 2021 CV 00251, Stark County, Ohio Court of Common Pleas

  Potential claims against Roehl Trading for undelivered equipment and against Alpine Mining for
  undelivered equipment.

  Potential Claims against Michael Maranda and/or Michael Maranda LLC.

  Avoidance Actions, including those causes of action brought pursuant to Chapter 5 of the
  Bankruptcy Code




  SMRH:4884-5558-9128.6




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                                          Schedule 1.2(i)

                                 Registered Intellectual Property
  SQRLs registered intellectual property includes the following:
  -Detailed customer lists
  -www.squirrelsresearch.com and other domain names
  -SQRL trademarks, service marks, and logos




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                                        Schedule 2.4(a)

                                     Leased Real Property

  Lease Agreement for 8050 Freedom Avenue with One Haines Company, 120-month term.
  Signed May 5, 2020.

  Lease Agreement for 7579 Freedom (Skymax building) with One Skymax Company, 120-
  month term. Signed March 16, 2020.

  Lease Agreement for Fishers Foods building with GS8100. 120-month term. Signed 9-8-2020.




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                                           Schedule 2.6

                                             Litigation
  TorEA Consulting Ltd. vs. Squirrels Research Laboratories LLC, 2021CV1091, Stark County
  Common Pleas Court 115 Central Plaza North Canton, OH 44702

  Everhart Glass Co., Inc. v. Kylin Construction, LLC and Squirrels Research Labs, LLC 2021-
  CV-01487 , Stark County Common Pleas Court 115 Central Plaza North Canton, OH 44702

  Threats of litigation have also been brought forth by counsel for Mr. Michael Maranda/Michael
  Maranda LLC and counsel for Mr. Karl Forsell.




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